       Case 1:98-cr-00038-JMS-MJD Document 62 Filed 08/24/15 Page 1 of 39 PageID #: 608



                                          UNITED STATES DISTRICT COURT
                                                          Southern District of Indiana
                                                               Laura A. Briggs, Clerk of Court

Birch Bayh Federal Building   U.S. Courthouse, Room 104     Winfield K. Denton Federal Building   Lee H. Hamilton Federal Building
& U.S. Courthouse, Room 105   921 Ohio Street               & U. S. Courthouse, Room 304          & U.S. Courthouse, Room 210
46 East Ohio Street           Terre Haute, IN 47807         101 NW Martin Luther King Blvd.       121 West Spring Street
Indianapolis, IN 46204        (812) 231-1840                Evansville, IN 47708                  New Albany, IN 47150
(317) 229-3700                                              (812) 434-6410                        (812) 542-4510


                                                                    August 24, 2015

 MATTHEW P. BROOKMAN                                                           WILLIAM H. DAZEY
 UNITED STATES ATTORNEYS OFFICE – EV                                           INDIANA FEDERAL COMMUNITY DEFE
 101 NW Martin Luther King, Jr. Blvd.                                          111 Monument Circle
 Suite 250                                                                     Suite 2150
 Evansville, IN 47708                                                          Indianapolis, IN 46204

RE: UNITED STATES OF AMERICA v. MARK WHITE, et al

CAUSE NO: 1:98-cr-00038-LJM-MJD-3

Dear Appellant and Appellee:

Please be advised that the Notice of Appeal filed in 1:98-cr-00038-LJM-MJD-3 has been forwarded to the
United States Court of Appeals for the Seventh Circuit. The Clerk of the Seventh Circuit will assign an
appellate case number, docket the appeal, and notify case participants of the Seventh Circuit case number
assigned to this matter.

Filing a “Designation of Record” in the U.S. District Court case helps ensure that the appropriate documents
(e.g., pleadings and attachments, briefs, exhibits) are effectively transmitted to the Seventh Circuit. A copy of
the docket sheet in this case has been included for your convenience. The docket sheet may be annotated (by
circling docket numbers, or highlighting electronically) to identify the docket entries that are to be included in
the appellate record, then attached as an exhibit to the Designation of Record. The designation may also
simply list the docket entry numbers (all attachments to each entry will be included) along with a description
of the designated documents.

Please review Southern District of Indiana Local Rule 76-1 and Seventh Circuit Rule 10 (enclosed) for guidance
regarding the designation of a record, and comply with the provisions of Federal Rule of Civil Procedure 5
when filing the designation.

Please contact the Clerk’s office with any questions or concerns.

                                                          Sincerely,
                                                          Laura A. Briggs,
                                                          Clerk of Court

                                                          By Maggie Gilstrap, Deputy Clerk
                                                          812-542-4510
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Selected Rules for Reference

Local Rule 76-1 - Designating Additional Items For Record on Appeal

        An appellant designating items for the record on appeal under Circuit Rule 10(a) must serve a proposed joint
        designation on the appellee with the notice of appeal. The parties must then confer and, if they agree, prepare a
        joint designation, highlighting those entries on the court's docket sheet if it is practical to do so. The joint
        designation must be filed with the clerk within 14 days after the notice of appeal is filed. If the parties cannot
        reach agreement on a joint designation, each party must submit a separate designation within 14 days after filing
        the notice of appeal.

        NOTE: The complete Local Rules for the U.S. District Court, Southern District of Indiana,
              are available at: http://www.insd.uscourts.gov/local-rules




CIRCUIT RULE 10. Preparation of Record in District Court Appeals

   (a) Record Preparation Duties. The clerk of the district court shall prepare within 14 days of filing the notice of appeal the
original papers, transcripts filed in the district court, and exhibits received or offered in evidence (with the exceptions
listed below). The transcript of a deposition is "filed" within the meaning of this rule, and an exhibit is "received or
offered," to the extent that it is tendered to the district court in support of a brief or motion, whether or not the rules of the
district court treat deposition transcripts or exhibits as part of the record. These materials may be designated as part of the
record on appeal without the need for a motion under Fed. R. App. P. 10(e). Counsel must ensure that exhibits and
transcripts to be included in the record which are not in the possession of the district court clerk are furnished to the clerk
within fourteen days after the filing of the notice of appeal. The following items will not be included in a record unless
specifically requested by a party by item and date of filing within fourteen days after the notice of appeal is filed or unless
specifically ordered by this court:

        briefs and memoranda,
        notices of filings,
        subpoenas,
        summonses,
        motions to extend time,
        affidavits and admissions of service and mailing,
        notices of settings,
        depositions and notices, and
        jury lists.


  (b) Correction or Modification of Record. A motion to correct or modify the record pursuant to Rule 10(e), Fed. R. App. P.,
or a motion to strike matter from the record on the ground that it is not properly a part thereof shall be presented first to
the district court. That court's order ruling on the motion will be transmitted to this court as part of the record.

  (c) Order or Certification with Regard to Transcript. Counsel and court reporters are to utilize the form prescribed by this
court when ordering transcripts or certifying that none will be ordered. For specific requirements, see Rules 10(b) and
11(b), Fed. R. App. P.

  (d) Ordering Transcripts in Criminal Cases.

  (1) Transcripts in Criminal Justice Act Cases. At the time of the return of a verdict of guilty or, in the case of a bench trial,
an adjudication of guilt in a criminal case in which the defendant is represented by counsel appointed under the Criminal
Justice Act (C.J.A.), counsel for the defendant shall request a transcript of testimony and other relevant proceedings by
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completing a C.J.A. Form No. 24 and giving it to the district judge. If the district judge believes an appeal is probable, the
judge shall order transcribed so much of the proceedings as the judge believes necessary for an appeal. The transcript
shall be filed with the clerk of the district court within 40 days after the return of a verdict of guilty or, in the case of a
bench trial, the adjudication of guilt or within seven days after sentencing, whichever occurs later. If the district judge
decides not to order the transcript at that time, the judge shall retain the C.J.A. Form No. 24 without ruling. If a notice of
appeal is filed later, appointed counsel or counsel for a defendant allowed after trial to proceed on appeal in forma
pauperis shall immediately notify the district judge of the filing of a notice of appeal and file or renew the request made
on C.J.A. Form No. 24 for a free transcript.

  (2) Transcripts in Other Criminal Cases. Within 14 days after filing the notice of appeal in other criminal cases, the
appellant or appellant's counsel shall deposit with the court reporter the estimated cost of the transcript ordered pursuant
to Rule 10(b), Fed. R. App. P., unless the district court orders that the transcript be paid for by the United States. A non-
indigent appellant must pay a pro rata share of the cost of a transcript prepared at the request of an indigent co-defendant
under the Criminal Justice Act unless the district court determines that fairness requires a different division of the cost.
Failure to comply with this paragraph will be cause for dismissal of the appeal.

   (e) Indexing of Transcript. The transcript of proceedings to be transmitted to this court as part of the record on appeal
(and any copies prepared for the use of the court or counsel in the case on appeal) shall be bound by the reporter in a
volume or volumes, with the pages consecutively numbered throughout all volumes. The transcript of proceedings, or the
first volume thereof, shall contain a suitable index, which shall refer to the number of the volume as well as the page, shall
be cumulative for all volumes, and shall include the following information:

  (1) An alphabetical list of witnesses, giving the pages on which the direct and each other examination of each witness
begins.

  (2) A list of exhibits by number, with a brief description of each exhibit indicating the nature of its contents, and with a
reference to the pages of the transcript where each exhibit has been identified, offered, and received or rejected.

 (3) A list of other significant portions of the trial such as opening statements, arguments to the jury, and instructions,
with a reference to the page where each begins.

When the record includes transcripts of more than one trial or other distinct proceeding, and it would be cumbersome to
apply this paragraph to all the transcripts taken together as one, the rule may be applied separately to each transcript of
one trial or other distinct proceeding.

  (f) Presentence Reports. The presentence report is part of the record on appeal in every criminal case. The district court
should transmit this report under seal, unless it has already been placed in the public record in the district court. If the
report is transmitted under seal, the report may not be included in the appendix to the brief or the separate appendix
under Fed. R. App. P. 30 and Circuit Rule 30. Counsel of record may review the presentence report at the clerk's office but
may not review the probation officer's written comments and any other portion submitted in camera to the trial judge.

  (g) Effect of Omissions from the Record on Appeal. When a party's argument is countered by a contention of waiver for
failure to raise the point in the trial court or before an agency, the party opposing the waiver contention must give the
record cite where the point was asserted and also ensure that the record before the court of appeals contains the relevant
document or transcript.



        NOTE: The complete Federal Rules of Appellate Procedure & Rules of the 7th Circuit Court of Appeals
        are available at: http://www.ca7.uscourts.gov/Rules/Rules/rules.pdf
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Case 1:98-cr-00038-JMS-MJD Document 62 Filed 08/24/15 Page 5 of 39 PageID #: 612
      Case 1:98-cr-00038-JMS-MJD Document 62 Filed 08/24/15 Page 6 of 39 PageID #: 613
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                             Mark White                                    )
                                                                           )    Case No: 1:98CR00038-003
                                                                           )    USM No: 05671-028
Date of Original Judgment:                            12/10/1999           )
Date of Previous Amended Judgment:                    06/13/2003           )    Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           ✔ DENIED. u GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
           u
the last judgment issued) of                   months is reduced to                                      .
                                             (Complete Parts I and II of Page 2 when motion is granted)




    Due to the amount of cocaine and cocaine base involved in his case, Mr. White's guideline range was not lowered
    by the two-level reduction to the base offense level of drug offenses. As such, he is not eligible for a reduction in
    sentence pursuant to Amendment 782.




Except as otherwise provided, all provisions of the judgment dated                                            shall remain in effect.

IT IS SO ORDERED.
Order Date:        07/14/2015

                                                                                  ________________________________
Effective Date:                                                                   LARRY J. McKINNEY, JUDGE
                     (if different from order date)                               United States District Court
                                                                                  Southern District of Indiana
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 Distribution:

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 Melanie Conour
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Case 1:98-cr-00038-JMS-MJD Document 62 Filed 08/24/15 Page 8 of 39 PageID #: 615




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


   UNITED STATES OF AMERICA,                       )
                                                   )
                                  Plaintiff,       )
                                                   )
                         vs.                       )          No. 1:98-cr-00038-LJM-MJD
                                                   )
   MARK WHITE (03),                                )
                                                   )
                                  Defendant.       )

                      ORDER DENYING MOTION TO RECONSIDER

        Defendant Mark White (“Defendant”) has moved for reconsideration of this Court’s

 Order denying his Motion for Reduction in Sentence pursuant to 18 U.S.C. § 3582(c)(2)

 and Amendment 782 to the U.S. Sentencing Commission Guidelines (“782 Motion”). In

 his motion to reconsider, Docket No. 56, Defendant contends that, contrary to the Court’s

 conclusion and the United States of America’s (the “Government’s”) position on the issue,

 the drug weight attributed to him was incorrect and the Court should recalculate that

 weight pursuant to United States v. Duncan, 639 F.3d 764, 767-68 (7th Cir. 2011). Dkt.

 No. 56 at 8. Defendant argues that he was not a leader or organizer of the conspiracy;

 therefore, the Court should recalculate the drug weight attributable to him like it did for his

 co-defendants Dennis Jones and Elis Walker. Dkt. No. 56 at 9.

        A motion for reconsideration is “valuable” when “the Court has patently

 misunderstood a party, or has made a decision outside the adversarial issues presented

 to the Court by the parties, or has made an error not of reasoning but of apprehension.”

 Bank of Waunakee v. Rochester Cheese Sales, Inc., 906 F.2d 1185, 1191 (7th Cir. 1990).

 Defendant makes no showing here that it has misunderstood his arguments in the past
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 or made its decisions outside the issues that were presented at his original sentencing,

 his sentencing on remand or in his original 782 Motion. For these reasons, Defendant’s

 Motion to Reconsider, Docket No. 56, is DENIED.

        IT IS SO ORDERED this 12th day of August, 2015.




                                              ________________________________
                                              LARRY J. McKINNEY, JUDGE
                                              United States District Court
                                              Southern District of Indiana




 Distribution:

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 Melanie C. Conour
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 melanie.conour@usdoj.gov
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                         UNITED STATES DISTRICT COURT SOUTHERN INDIANA

USA -VS- WHITE, MARK                                                                           IP98-CR-0038-03-M/D

                                                                      MAG CASE
       FILED            CLOSED         OFFENSE        NO. DEFTS                        JUDGE       MAGISTRATE
                                                                        NO.
     03/10/1998        12/14/1999        Felony              16         N/A        MCKINNEY          DINSMORE


USA                                                           MELANIE CONOUR
plaintiff                                                     UNITED STATES ATTORNEY'S OFFICE
                                                              10 WEST MARKET STREET, SUITE 2100
                                                              INDIANAPOLIS, IN 46204
                                                              (317)226-6333
V.
WHITE, MARK                                                   WILLIAM H DAZEY JR
defendant                                                     INDIANA FEDERAL COMMUNITY DEFENDERS
                                                              111 MONUMENT CIRCLE, #752
                                                              INDIANAPOLIS, IN 46204
                                                              (317)383-3520

     NO.             COUNTS                                  OFFENSE
1            1                       CONTROLLED SUBSTANCE - SELL, DISTRIBUTE, OR DISPENSE
2            2                       TAMPER W/WITNESS, VICTIM, INFORMANT (IF DEATH RESULTS)
3            3                       RETALIATING AGAINST WITNESS, VICTIM
4            4                       VIOLENT CRIME/DRUGS/MACHINE GUN
5            7,8                     MONEY LAUNDERING - FRAUD, OTHER
6            22                      MONEY LAUNDERING - CONTROLLED SUBSTANCE - SELL/DISTR/DISP
7            13                      MONEY LAUNDERING - FRAUD, OTHER


     DATE                                                    PROCEEDINGS



    03/10/1998     INDICTMENT FILED eod 03/12/98 [JMC]

    03/10/1998     CRIM INFO SHEET eod 03/12/98 [JMC]

    03/10/1998     PRAECIPE for warrant eod 03/12/98 [JMC]

    03/10/1998     WARRANT ISSUED eod 03/12/98 [JMC]

    03/12/1998     NGPL ORDER ASSIGNS JURY TRIAL to 05/11/98 at 09:30AM Room 243 (SHD) c/m eod 03/12/98
                   [JMC]

    03/13/1998     REASSIGNED from Judge DILLIN to Judge MCKINNEY eod 03/13/98 [DLD]




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 04/22/1998   COURTROOM MINUTES of a hearing held before Magistrate Foster eod 04/22/98 [CBU]

 04/22/1998   DEFT APPEARS IN PERSON AND w/retained counsel Joe Cleary eod 04/22/98 [CBU]

 04/22/1998   INITIAL APPEARANCE ON INDICTMENT/INFORMATION eod 04/22/98 [CBU]

 04/22/1998   APPEARANCE FOR THE USA BY AUSA Melanie Conour eod 04/22/98 [CBU]

 04/22/1998   USPO Represented by Thomas Parker eod 04/22/98 [CBU]

 04/22/1998   CHARGES & RIGHTS and penalties were read and explained. Deft previously detained on IP97-144CR
              M/F-Detention is moot issue at this time. Deft waives formal arraignment. eod 04/22/98 [CBU]

 04/22/1998   DEFT REMANDED TO CUSTODY of the USMS pending further proceedings before this Court eod
              04/22/98 [CBU]

 04/22/1998   INDICTMENT UNSEALED at this time. eod 04/22/98 [CBU]

 04/23/1998   APPEARANCE of Robert W Hammerle and Joseph M Cleary on behalf of DEFT c/s eod 04/23/98 [SWM]

 04/24/1998   USM RETURN eod 04/27/98 edited 06/09/99 [DLD]

 05/05/1998   ORDER GRANTS the motion for cont. eod 05/05/98 [DLD]

 05/05/1998   ORDER VACATES the trial date of May 11, 1998. eod 05/05/98 [DLD]

 05/05/1998   ORDER re-sets the Trial by Jury on Monday, July 27, 1998 at 9:30 a.m. cm LJM eod 05/05/98 [DLD]

 05/05/1998   MOTION TO CONTINUE trial date. cs PLTF eod 05/06/98 [DLD]

 06/19/1998   ENTRY ASSIGNS CONF to 06/24/98 at 04:00PM Room 204 (LJM) c/m Mr. DuPonte shall be permitted
              to participate by telephone by calling the Court. eod 06/22/98 [DLD]

 06/24/1998   ENTRY - Counsel appear for attorney conference which is continued. eod 06/25/98 [SJD]

 06/24/1998   ENTRY ASSIGNS CONF to 07/16/98 at 02:30PM Room 204 (LJM) c/m Mr. DuPonte shall be permitted
              to participate by telephone. eod 06/25/98 [SJD]

 06/30/1998   SUPERSEDING INDICTMENT eod 06/30/98 [DLD]

 06/30/1998   CRIM INFO SHEET eod 06/30/98 [DLD]

 06/30/1998   PRAECIPE for WARRANT eod 06/30/98 [DLD]

 07/01/1998   WARRANT ISSUED eod 07/01/98 [DLD]

 06/30/1998   SUMMARY of Superseding Indictment. eod 07/01/98 [DLD]

 06/30/1998   Attachment to Indictment Cover Sheet eod 07/01/98 [DLD]




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 07/01/1998   WARRANT ISSUED eod 07/01/98 [DLD]

 07/07/1998   MOTION TO UNSEAL the Superseding Indictment returned on 6/30/98 cs/GOVT eod 07/07/98 [SJD]

 07/07/1998   INDICTMENT UNSEALED - (Superseding Indictment returned on 6/30/98) cm/SEB eod 07/07/98 [SJD]

 07/08/1998   COURTROOM MINUTES of a hearing held before Mag. Judge Foster eod 07/08/98 [MHK]

 07/08/1998   INITIAL APPEARANCE ON INDICTMENT/INFORMATION (Superseding) eod 07/08/98 [MHK]

 07/08/1998   DEFT APPEARS IN PERSON AND with retained counsel Joe Cleary for Bob Hammerle eod 07/08/98
              [MHK]

 07/08/1998   CHARGES & RIGHTS and Penalties were read and explained. Def. waived formal arraignment. eod
              07/08/98 [MHK]

 07/08/1998   DEFT REMANDED TO CUSTODY of U. S. Marshals pending further proceedings before the Court.
              (KPF) eod 07/08/98 [MHK]

 07/08/1998   USM RETURN eod 07/08/98 [DLD]

 07/09/1998   USM RETURN eod 07/10/98 [DLD]

 07/14/1998   USM RETURN eod 07/15/98 [DLD]

 07/15/1998   MOTION to Withdraw as co-counsel Re: Robert W. Hammerle. cs DEFT eod 07/21/98 [DLD]

 07/21/1998   ORDER grants the withdrawal of Robert W. Hammerle as co-counsel for DEFT. cm LJM eod 07/21/98
              [DLD]

 07/23/1998   ORDER VACATES the trial setting of July 27, 1998. eod 07/24/98 [DLD]

 07/23/1998   ORDER RE-SET Jury Trial on Monday, August 31, 1998 at 9:30 a.m. in Courtroom 202, United States
              District Court. eod 07/24/98 [DLD]

 08/10/1998   MOTION to Withdraw as Counsel for DEFT. cs eod 08/11/98 [DLD]

 08/10/1998   ORDER - VACATES trial setting of 8/31/98 cm/LJM eod 08/11/98 [SJD]

 08/10/1998   ORDER REASSIGNS JURY TRIAL to 01/25/99 at 09:30AM Room 202 (LJM) c/m eod 08/11/98 [SJD]

 09/09/1998   MOTION to extend deadline to file pre-trial. cs DEFT eod 09/09/98 [DLD]

 09/09/1998   MOTION to join motions to sever filed by co-defts. cs DEFT eod 09/09/98 [DLD]

 09/09/1998   MOTION to Join Motion to Appeal Magistrate's entry and order of dentention pending trial. cs DEFT eod
              09/09/98 [DLD]

 09/09/1998   MOTION to re-file and incorporate previously filed motions. cs DEFT eod 09/09/98 [DLD]

 09/10/1998   ORDER OVERRULES the Motion to Join the Motion of Co-Defendant Anthony Spradley to appeal




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              Magistrate's entry and order of detention pending trial. cm LJM eod 09/11/98 [DLD]

 09/30/1998   ORDER GRANTS all parties in this cause of action to and including 10/25/98 to submit their Pre-Trial
              Motions. cm LJM eod 09/30/98 [DLD]

 09/30/1998   ORDER OVERRULES DEFT'S Ellis Walker and William J. Gray's motion to suppress and bar testimony
              of Keith Cork, William Cox, Robert Johnson, Dwayne Gibson, William Coby and others and all other co-
              defts through said motions to suppress. cm LJM eod 09/30/98 [DLD]

 10/05/1998   ORDER grants the withdrawal of Richard A. Jones. cm LJM eod 10/05/98 [DLD]

 10/06/1998   MOTION - Petition to appeal Magistrate's entry and order of detention pending trial. cs DEFT eod
              10/06/98 [DLD]

 10/26/1998   ORDER OVERRULES all of the Singleton motions pending in this case. (SO) cm LJM eod 10/26/98
              [DLD]

 10/28/1998   ORDER OVERRULES deft Perkins' Motion to Strike aliases from the Indictment. None of the aliases are
              prejudicially inflammatory. They may be used only for witness identification. eod 10/29/98 [DLD]

 10/28/1998   ORDER OVERRULES the Motions to Sever. None of the defts have shown actual prejudice. eod 10/29/98
              [DLD]

 10/28/1998   ORDER OVERRULES the Motions for Bill of Particulars. The Court finds that each deft is adequately
              informed of the nature of the charge against him with sufficient precision to enable him to prepare and to
              avoid or minimize prejudicial suprise at trial. cm LJM eod 10/29/98 [DLD]

 11/02/1998   APPEARANCE of William H. Dazey, Jr. on behalf of the DEFT (White) eod 11/02/98 [DLD]

 11/02/1998   CJA COUNSEL eod 11/02/98 [DLD]

 11/17/1998   RESPONSE IN OPPOSITION to deft's Motion and Memorandum to bar prosecution or suppress evidence
              for outrageous governmental conduct and violations of due process. cs PLTF eod 11/17/98 [DLD]

 11/24/1998   NOTICE - Partial Notice regarding expert witnesses. cs PLTF eod 11/24/98 [DLD]

 12/01/1998   RESPONSE IN OPPOSITION to DEFT (Spradley's) Motion to Dismiss federal murder charges and related
              offenses for lack of federal jurisdiction, or in the alternative to sever federal murder charges and related
              offenses. cs PLTF eod 12/01/98 [DLD]

 12/01/1998   MOTION to Compel Discovery. cs PLTF eod 12/02/98 [DLD]

 12/02/1998   RESPONSE to DEFT (Spradley's) motion for grand jury testimony and previously undisclosed statement(s)
              of DEFT. cs PLTF eod 12/02/98 [DLD]

 12/02/1998   RESPONSE IN OPPOSITION to DEFT (Spradley's) supplement and renewed motion and memorandum to
              bar prosecution or to suppress evidence for outrageous government midconduct and violations of due
              process. cs PLTF eod 12/02/98 [DLD]

 12/04/1998   RESPONSE IN OPPOSITION to DEFT'S motion to determine the existence and identities of confidential
              informants or sources of information; and motion and supplement motion for order compelling production
              of Brady and Bagley materials (Impeachment Materials) cs PLTF eod 12/04/98 [DLD]




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 12/04/1998   RESPONSE IN OPPOSITION to DEFT (Spradley's) motion in the alternative to strike use of all non-
              discovered evidence at trial or dismiss prosecution for non-compliance with court's discovery order. cs
              PLTF eod 12/07/98 [DLD]

 12/04/1998   RESPONSE IN OPPOSITION to DEFT (Spradley) motion in limine to strike certain inflammatory and
              prejudicial evidence, and Motion for specific notice regarding intentto introduce "Overt Act" evidence,
              pursuant to FRE 404(b). cs PLTF eod 12/07/98 [DLD]

 12/08/1998   RESPONSE to deft's (Spradley) motion to suppress post-arrest statement by deft (Spradley) to state police
              officers. cs PLTF eod 12/08/98 [DLD]

 12/08/1998   ENTRY ASSIGNS CONF to 12/16/98 at 10:00AM Room 204 (LJM) c/m Indianapolis attorneys are to
              attend in person. Frederick Mann and Michael R. DuPonte may participate telephonically. eod 12/08/98
              [DLD]

 12/16/1998   ENTRY - Attorney conference held. eod 12/16/98 [DLD]

 12/17/1998   NOTICE - Amendment to partial notice regarding expert witnesses. cs PLTF eod 12/18/98 [DLD]

 12/17/1998   NOTICE - Second Partial notice regarding expert witnessess. cs PLTF eod 12/18/98 [DLD]

 12/29/1998   NOTICE - Third Partial Notice Regarding Expert Witnesses. c/s PLTF eod 12/29/98 [TMA]

 12/30/1998   MOTION TO CONTINUE Pretrial Dates. c/s GOVT eod 12/30/98 [TMA]

 01/08/1999   ORDER VACATES THE JURY Trial Date set for January 25, 1999 and this cause is re-set for Trial by
              Jury on Monday, March 8, 1999 at 9:30 a.m. cm LJM eod 01/08/99 [DLD]

 01/08/1999   SEALED DOCUMENT - Response to DEFT (Anthony M. Spradley) Motions regarding impeachment
              materials and first motion in limine filed under seal. cs PLTF eod 01/08/99 [DLD]

 01/12/1999   MOTION for an emergency protective order. cs PLTF eod 01/13/99 [DLD]

 01/19/1999   ORDER that the defts not photocopy or duplicate, in whole or in part, any discovery materials, for purposes
              of providing said materials to any other individual or entity, including the defts. eod 01/19/99 [DLD]

 01/19/1999   ORDER that the deft not attach, circulate, nor publish motions and orders of this Court which have been
              file under seal. eod 01/19/99 [DLD]

 01/19/1999   ORDER that deft Spradley serve the government with all future pleadings by including the government on
              the certificate of service of any such pleadings, with the exceptionof ex parte filings. cm LJM eod 01/19/99
              [DLD]

 01/19/1999   NOTICE - Fourth Partial Notice regarding expert witnesses. cs PLTF eod 01/19/99 [DLD]

 01/19/1999   RESPONSE IN OPPOSITION to DEFT (Spradley's) Franks' Motion and Motion to Suppress Fruits of
              Search conducted 07/03/97, pursuant to search warrant. cs PLTF eod 01/19/99 [DLD]

 02/02/1999   ORDER GRANTS the Motion to Compel Discovery and defts are ordered to comply with suchd discovery
              on or before 02/17/99. cm LJM eod 02/02/99 [DLD]

 02/02/1999   NOTICE - Fifth Partial Notice regarding expert witnesses. cs PLTF eod 02/02/99 [DLD]




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 02/02/1999   ORDER Grants the motion to continue the previously ordered pretrial dates. Extending deadline for
              disclosure of Jencks/Rule 26.2 statements to March 1, 1999 and sets schedule for pretrial disclosures by the
              government. Feb. 22, 1999, Notice of 404(b) evidence; Santiago Proffer to the Court; and Notice of
              Evidence pursuant to Fed.R. Evid. 609, March 1, 1999: Jencks/Rule 26.2 statements made available to
              defts; Motions in Limine filed. cm LJM eod 02/02/99 [DLD]

 02/08/1999   RESPONSE IN OPPOSITION to deft Gray's Motion to Conduct independent DNA testing of hair and
              saliva, pursuant to R. 16(C) FRCP., and for order compelling government witnesses to submit hair and
              saliva samples. cs PLTF eod 02/08/99 [DLD]

 02/16/1999   MOTION for transportation order for appearance at funeral public viewing. cs DEFT (Mark White) eod
              02/16/99 [DLD]

 02/17/1999   NOTICE TO COURT of Government's position regarding statement contained in Court's order of 02/12/99.
              cs PLTF eod 02/17/99 [DLD]

 02/18/1999   ORDER OVERRULES the motion for transportation for appearance at funeral public viewing. cm LJM
              eod 02/18/99 [DLD]

 02/22/1999   MOTION for a Protective Order. cs PLTF eod 02/22/99 [DLD]

 02/25/1999   ENTRY ASSIGNS CONF to 03/01/99 at 08:30AM Room 204 (LJM) c/m Re: Attorney Conference eod
              02/25/99 [DLD]

 03/01/1999   ENTRY - Attorney conference held. eod 03/05/99 [DLD]

 03/01/1999   ENTRY - The Court, on its own motion, VACATES the trial date of March 8, and resets this cause. eod
              03/05/99 [DLD]

 03/01/1999   ENTRY REASSIGNS JURY TRIAL to 03/22/99 at 09:30AM Room 202 (LJM) c/m eod 03/05/99 [DLD]

 03/01/1999   ENTRY ASSIGNS CONF to 03/08/99 at 04:00PM Room 204 (LJM) c/m (Docket Entry only - no
              distribution) eod 03/05/99 [SJD]

 03/22/1999   ORDER grants the Motion to Cont. filed by DEFT (Anthony Spradley) eod 03/22/99 [DLD]

 03/22/1999   ORDER VACATES that the trial date of March 22, 1999. eod 03/22/99 [DLD]

 03/22/1999   ORDER REASSIGNS JURY TRIAL to 07/06/99 at 09:30AM Room 202 (LJM) c/m eod 03/22/99 [DLD]

 05/20/1999   ORDER - pending before the Court are motions for additional preemptory challenges. The Court will
              consider additional preemptory challenges a week before trial. cm LJM eod 05/20/99 [DLD]

 05/20/1999   ORDER - Pending before the Court are various Motions to Sever. All are OVERRULED. The same
              reasons for denying previous motions remain. The dispute the various defendants have with the
              Government's proffer do not meet the Court's concerns about piecemeal trial of the various counts and
              individuals. cm LJM eod 05/20/99 [DLD]

 06/01/1999   NOTICE - Supplemental Notice of Evidence pursuant to Fed. R. Evid. 609. cs PLTF eod 06/01/99 [DLD]

 06/07/1999   ORDER ON INITIAL DETERMINATION OF ADMISSIBILITY of coconspirators' statements. The
              Court's initial determination is that the proffered statements are admissible against all defendants. cm/LJM
              eod 06/07/99 [SJD]




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 06/07/1999   ORDER - GRANTS Govt's Motion to Admit Out of Court Statements eod 06/07/99 [SJD]

 06/07/1999   ORDER - DENIES Defendants' Motions in Limine (applicable to all pending motions in limine on the
              issue of admittance of out of court statements) cm/LJM eod 06/07/99 [SJD]

 06/07/1999   ENTRY REASSIGNS JURY TRIAL to 07/07/99 at 09:30AM Room 202 (LJM) c/m The trial date of July
              6, 1999 is VACATED. eod 06/08/99 [DLD]

 06/07/1999   ENTRY ASSIGNS CONF to 06/24/99 at 02:30PM Room 202 (LJM) c/m Re: Attorney Conference eod
              06/09/99 [DLD]

 06/22/1999   Response in Opposition to DEFT (Gray's) Motion in Limine regarding Police Officer "Expert" testimony
              and supplemental notice regarding expert witnesses. cs PLTF eod 06/23/99 [DLD]

 06/22/1999   Response to DEFT (Gray's) Motion to Reconsider. cs PLTF eod 06/23/99 [DLD]

 06/22/1999   Response in Opposition to DEFT (Gray's) supplemental request for Voir Dire. cs PLTF eod 06/23/99
              [DLD]

 06/24/1999   MOTION to Correct Scrivener's error and to redact overt act in the Indictment. cs PLTF eod 06/25/99
              [DLD]

 06/24/1999   NOTICE of Tacit Admission. cs PLTF eod 06/25/99 [DLD]

 06/24/1999   MOTION to Admit out of Court Statements pursuant to Fed. R. Evid. 804(b)(3) cs PLTF eod 06/25/99
              [DLD]

 06/25/1999   ORDER OVERRULES the DEFT (Gray's) Motion to Prohibit "Rogues Gallery" Chart. eod 06/25/99
              [DLD]

 06/25/1999   ORDER OVERRULES the DEFTS' Supplemental Request for Voir Dire. eod 06/25/99 [DLD]

 06/25/1999   ORDER OVERRULES the DEFTS Motion in Limine regarding Police Officer "Expert" Testimony. eod
              06/25/99 [DLD]

 06/25/1999   ORDER OVERRULES the DEFTS' Motion to Reconsider and Request for More Specific Findings. eod
              06/25/99 [DLD]

 06/28/1999   ENTRY ASSIGNS CONF to 07/06/99 at 10:00AM Room 202 (LJM) c/m Re: Final Attorney Conference
              eod 06/28/99 [DLD]

 06/28/1999   ORDER GRANTS the Motion of the United States to correct two scrivener's errors and to redact Count 1,
              Overt Act No. 2, from the superseding indictment. (SO) cm LJM eod 06/28/99 [DLD]

 06/28/1999   ORDER that the DEFTS' request that the Government furish a schedule of each day's expected witnesses is
              MOOT. The Government has indictated that it will file a complete list of those witnesses the morning of
              trial and will call the witnesses in the order they appear on that list and will notify defts' counsel if that
              should change. cm LJM eod 06/28/99 [DLD]

 06/28/1999   NOTICE to the Court regarding pending matters. cs PLTF eod 06/28/99 [DLD]

 06/30/1999   ORDER - GRANTS Govt's motion pursuant to F.R.C.P. 404(b) to introduce evidence of uncharged cocaine




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              transactions. cm/LJM eod 06/30/99 [SJD]

 06/30/1999   ORDER on Personnel Records of Law Enforcement Witnesses cm/LJM eod 06/30/99 [SJD]

 07/02/1999   ORDER that the Court, having considered the request of the DEFTS for increasing the number of
              peremptory challenges, now GRANTS the motion and increases the number of peremptory challenges from
              10 to 20. cm LJM eod 07/02/99 [DLD]

 07/06/1999   STIPULATIONS REGARDING VARIOUS GOVERNMENT'S EXHIBITS. cs PLTF eod 07/06/99 [DLD]

 07/06/1999   STIPULATION - EXHIBIT NOS. 223, 224, 225, 234, 242, 245 AND 258. cs PLTF eod 07/06/99 [DLD]

 07/06/1999   ORDER ON VARIOUS MOTIONS - Deft Gray's renewed motion to sever is DENIED; Deft Gray's
              Motion in Limine re: Terrance Pierce is OVERRULED; Deft Gray's Motion for additional recess is
              DENIED, the court does ORDER the govt to certify that no further Giglio, Brady or Kyles materials exists
              and further orders that the govt has a continuing duty to disclose such materials as it is discovered; Deft
              Gray's Motion in Limine re: plea agreements and statements is PARTIALLY GRANTED, any reference to
              polygraphs shall be redacted, the motion is OVERRULED in all other respects; deft Gray's Request for
              preliminary jury instructions is OVERRULED, Gray's proposed instruction will be given at the close of the
              case. Deft Spradley's Motion for continuance is OVERRULED; deft Spradley's Motion to strike aliases and
              references to "the baha/baja boyz" is PARTIALLY GRANTED; deft Spradley's Motion in limine to limit
              the court from referencing the cocaine subject of the alleged conspiracy as "crack" or "crack cocaine" eod
              07/07/99 [PLM]

 07/06/1999   ORDER (CONTINUATION) is GRANTED; the remaining portions of the Motion in Limine are
              OVERRULED. Deft Gray's Motion in limine or for redacton of improper material on exhibits IS TAKEN
              UNDER ADVISEMENT until such time as an attempt to introduce the written statement is made. LJM c/m
              eod 07/07/99 [PLM]

 07/07/1999   VOIR DIRE QUESTIONS. cs PLTF eod 07/08/99 [DLD]

 07/07/1999   ENTRY OVERRULES - In open court, DEFT William Grays moves orally to strike the jury panel in its
              entirety because of racial imbalance of the panel and the comment of a black juror that he knew DEFT
              (Spradley) and that it was in his (the juror's) best interest not to be on the jury. eod 07/08/99 [DLD]

 07/07/1999   ENTRY - Counsel raised their objection to the Court that they are unaware of who was on the original jury
              panel and who was stricken and why they were stricken prior to the commencement of the trial. The Court,
              noting that similar motion was on file, relates that some of the original members of the panel had been
              striken prior to commencement of the jury trial for hardship reasons, vacation reasons and illness. eod
              07/08/99 [DLD]

 07/07/1999   ENTRY - the DEFT Gray's objection to the presence of U.S. Marshals in the Courtroom is OVERRULED.
              eod 07/08/99 [DLD]

 07/07/1999   ENTRY - DEFTS (Willie Boddie and Mark White) orally renew the motion to sever. Motion is DENIED
              for the same reasons entered by the Court previously. cm LJM eod 07/08/99 [DLD]

 07/07/1999   TRIAL COMMENCES - Trial by Jury begins. Court adjourns to resume 07/08/99. eod 07/08/99 [DLD]

 07/08/1999   COURTROOM MINUTES - Jury Trial continues. Court adjourns to resume 07/12/99 at 9:00 a.m. eod
              07/08/99 [DLD]

 07/08/1999   ENTRY and ORDER. DEFT Dennie Jones' oral motion for a mis-trial, or in the alternative, for additional
              strikes, is joined by all defts. Motion is DENIED by the Court for the reasons stated on the record. cm LJM




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              eod 07/08/99 [DLD]

 07/08/1999   RESPONSE in opposition to deft Brown's Motion in Limine RE: 1.4166 grams of crack cocaine. c/s USA
              eod 07/08/99 [PLM]

 07/09/1999   ORDER GRANTS Motion to Admit Out-Of-Court Statements. (SO) cm LJM eod 07/10/99 [DLD]

 07/12/1999   Submission of Additional out of Court Statements made by an unavailable witness pursuant to Federa Rule
              of Evidence 804(b)(6). cs PLTF eod 07/12/99 [DLD]

 07/12/1999   ENTRY - The Court hears argument on DEFTS (Anthony Spradley and Darren Browns') Motion to
              Suppress. The motion is taken under advisement by the Court. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - Argument heard on Stephanie Johnson's Motion in Limine regarding evidence seized at the
              residence at 2389 North Tibbs on 02/24/94. Motion is OVERRULED for reasons set forth on the open
              record. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - Argument heard on Ellis Walker's Motion in Limine regarding a prior conviction of DEFT
              Walker and items seized during the execution of a search warrant at 4345 North Winthrop Avenue on Feb.
              9, 1993. Government advises the Court that it does not intend to introduce as evidence the prior conviction
              and sentence of DEFT Walker. Motion is OVERRULED as to the items seized for reasons set forth on the
              open record. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - Argument heard on Anthony Thompson's Motion in Limine regarding items seized during the
              execution of a search warrant at the residence at 4339 North Crittendon Avenue on April 15, 1997, and
              items seized during the execution of a search warrant at residence 5119 North Norwaldo Avenue on
              January 10, 1997. Motion is joined by Thomas Alexander. Motion is OVERRULED for reasons set forth
              on the open record. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - Arugment is heard on Darren Brown's Motion in Limine regarding items seized during a
              01/28/93, traffic stop. Motion is taken under advisement. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - Argument heard on Darren Brown's Motion in Limine regarding items seized at the Dollar Inn,
              Lafayette Road., on September 28, 1994. Motion is OVERRULED for reasons set fourth on the open
              record. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - Anthony Spradley's motion in limine regarding Knoebel Homicide and Motion in Limine
              regarding prior arrests of DEFT Spradley are GRANTED. eod 07/13/99 [DLD]

 07/12/1999   ENTRY - DEFT William Gray orally moves for an in-camera review of statements of involvement and
              financial information contained in pre-sentence reports completed on Government witnesses Terrence
              Pierce, William Coby, Coy Elliott, James Douglas, Jandelyn Gates and Robert Johnson. The Court
              GRANTS the motion to the extent of the pre-sentence reports that exist at this time. cm LJM eod 07/13/99
              [DLD]

 07/12/1999   COURTROOM MINUTES - Continuance of Jury Trial. Opening Statements by PLTF & DEFTS. Court
              adjourns to resume 07/13/99 at 9:00 a.m. eod 07/13/99 [DLD]

 07/13/1999   MOTION for Curative Instructions. cs PLTF eod 07/14/99 [DLD]

 07/13/1999   COURTROOM MINUTES - Continuance of Jury Trial. Pltfs cont. w/evidence. Court adjourns to resume
              07/14/99 at 9:00 a.m. eod 07/14/99 [DLD]

 07/14/1999   ORDER DENIES the DEFTS (Spradley and Brown) Motion to Suppress and the Motion in Limine to




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              exclude, including currency and statements allegedly made by the DEFTS, obtained by law enforcement
              officers during and after a search of the DEFTS' bag on July 20, 1992 at the Syracuse, New York, airport.
              cm LJM eod 07/14/99 [DLD]

 07/14/1999   COURTROOM MINUTES - Cont. of jury trial. Pltf. cont. w/evidence. Court adjourns to resume 07/15/99
              at 9:00 a.m. eod 07/15/99 [DLD]

 07/14/1999   ORDER - effective this date, IT IS HEREBY ORDERED that the United States District Court reimburse
              the 12 jurors and 4 alternates in this case, parking fees in the amount of $2.00 per day. LJM eod 07/15/99
              [DLD]

 07/14/1999   MOTION for In Camera Inspection of Department of Corrections Records of Robert Johnson. cs PLTF eod
              07/15/99 [DLD]

 07/14/1999   ORDER - The Indiana Dept. of Corrections shall provide this Court at the earliest possible time, IN
              CAMERA, any and all records, including medical records, or copies thereof, pertaining to Robert Johnson,
              07/23/65, and inmate between 1989 and 1993. cm LJM eod 07/15/99 edited 07/16/99 [DLD]

 07/13/1999   ENTRY - DEFTS (Anthony Spradley and Darren Brown's) Motion to Suppress, considered to also be a
              motion in limine is OVERRULED. eod 07/15/99 [DLD]

 07/13/1999   ENTRY - DEFT (Thomas Alexander's) Motion in Limine regarding a prior conviction of DEFT Alexander
              is OVERRULED by the Court for the same reasons set forth in regard to DEFT Darren Brown's motion in
              limine. eod 07/15/99 [DLD]

 07/13/1999   ENTRY - the Court OVERRULES Darren Brown's Motion in Limine, previously taken under advisement,
              regarding items seized during January 28, 1993, traffic stop for reasons set forth on the open record. eod
              07/15/99 [DLD]

 07/13/1999   ENTRY - Government's oral motion to separate witness is GRANTED. eod 07/15/99 [DLD]

 07/13/1999   ENTRY - the Government's motion in limine filed previously with the Court regarding this shooting of
              Government witness Robert Johnson is OVERRULED for reasons set forth on the open record. eod
              07/15/99 [DLD]

 07/13/1999   ENTRY - Deft William Gray's request to call a rebuttal witness regarding the shooting of Steven Eldridge
              is GRANTED. eod 07/15/99 [DLD]

 07/13/1999   ENTRY - the Court orders counsel for Government to obtain from Pendleton any existing records at that
              institution that reference an attempt at suicide by Robert Johnson. cm LJM eod 07/15/99 [DLD]

 07/14/1999   ENTRY - Deft Dennis Jones moves orally to strike the entire testimony given by Witness William Coby on
              direct examination and renews his Motion to Sever. Both motions are OVERRULED by the Court. eod
              07/15/99 [DLD]

 07/14/1999   ENTRY - Court DENIES, as to Robert Johnson, Willie Boddie's motion to disclosure of pre-sentence
              investigation reports of Government's witnesses for reasons set forth on the open record. cm LJM eod
              07/15/99 [DLD]

 07/15/1999   COURTROOM MINUTES - Cont. of Jury Trial. Pltf cont. w/evidence. Court Adjourns to resume on
              07/19/99. eod 07/16/99 [DLD]

 07/14/1999   ORDER - The Indiana Dept. of Corrections shall provide this Court at the earliest possible time, IN
              CAMERA, any and all records, including medical records, or copies thereof, pertaining to Robert Johnson,




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              07/23/65, and inmate between 1989 and 1993. cm LJM eod 07/16/99 [DLD]

 07/15/1999   ENTRY - IN OPEN COURT: DENIES Deft Wm. J. Gray's Request for Cautionary Jury Instruction to be
              given weekly and states that said instruction will be given at the end of the presentation of evidence. eod
              07/16/99 [SJD]

 07/15/1999   ENTRY - IN OPEN COURT: GRANTS Govt's Motion for Curative Instruction and gives the Curative
              Instruction requested by the Govt. to the jury. cm/LJM eod 07/16/99 [SJD]

 07/19/1999   COURTROOM MINUTES - Cont. of Jury Trial. Pltf cont. with evidence. Court adjourns to resume
              07/20/99 at 9:00 a.m. eod 07/20/99 [DLD]

 07/20/1999   COURTROOM MINUTES - Cont. of Jury Trial. Pltf cont. w/evidence. Court adjourns to resume 07/21/99
              at 9:00 a.m. eod 07/21/99 [DLD]

 07/20/1999   ENTRY - Deft's Gray's oral Motion in Limine regarding the testimony of Jessie Green and Renew Motion
              to Sever are OVERRULED by the Court for the reasons set forth on the open record. eod 07/22/99 [DLD]

 07/20/1999   ENTRY - Deft Darren Brown orally renews the Motion in Limine regarding the testimony of Matthew
              Reidenback and moves to strike Officer Reidenback's testimony given this date. Motions remain pending
              before the Court. cm LJM eod 07/22/99 [DLD]

 07/21/1999   COURTROOM MINUTES - Cont. of Jury Trial. Pltf cont. w/evidence. Court Adjourns to resumet
              07/22/99 at 9:00 a.m. eod 07/22/99 [DLD]

 07/22/1999   COURTROOM MINUTES - Cont. of Jury Trial. Pltft cont. w/evidence. Court Adjourns to Resume.
              07/26/99 at 12:30 p.m. eod 07/23/99 [DLD]

 07/22/1999   ENTRY IN OPEN COURT: DENIES Deft Boddie's Motion for Disclosure of Pre-Sentence Repts. of Govt
              Witnesses as to witnesses Coby and Douglas eod 07/26/99 [SJD]

 07/22/1999   ENTRY - DENIES Deft Anthony Thompson's renewed Motion in Limine regarding items seized from
              4339 Crittenden eod 07/26/99 [SJD]

 07/22/1999   ENTRY - OVERRULES oral motion of Deft William Gray to strike all testimony pertaining to 4339
              Crittenden eod 07/26/99 [SJD]

 07/22/1999   ENTRY - OVERRULES oral motion of Deft Anthony Spradley to exclude testimony of Govt Witness
              Jessie Green eod 07/26/99 [SJD]

 07/22/1999   ENTRY - GIVES cautionary instruction in conjunction with evidence of marijuana heard in testimony this
              date cm/LJM eod 07/26/99 [SJD]

 07/26/1999   COURTROOM MINUTES - Jury Trial Continues. Pltf continues to present evidence. Court adjorns to
              resume 7/27/99 at 9:00 am. LJM eod 07/27/99 [MAC]

 07/27/1999   COURTROOM MINUTES - Jury Trial Continues. Pltf continues to present evidence. Court adjourns to
              resume 7/28/99 at 9:00 am. LJM eod 07/28/99 [MAC]

 07/28/1999   MOTION for Warrant for Material Witness c/s - PLTF USA eod 07/28/99 [MAC]

 07/28/1999   ORDER GRANTS Govts Motion for Warrant for Material Witness. Court directs that a warrant be issued
              for the appearance of Elise Forrest. cm LJM eod 07/28/99 [MAC]




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 07/28/1999   WARRANT ISSUED for Elise Forest for failure to honor subpoena LAB eod 07/28/99 [MAC]

 07/28/1999   MEMORANDUM concerning Disclosure of Agent Interview Notes c/s - DEFT White eod 07/28/99
              [MAC]

 07/28/1999   COURTROOM MINUTES - Jury Trial Continues. Pltf continues to present evidence. Court adjourns to
              resume 7/29/99 at 9:00 am. LJM eod 07/29/99 [MAC]

 07/28/1999   ENTRY ASSIGNS HEARING to 07/30/99 at 01:30PM Room 202 (LJM) c/m (Hearing on Pending
              Motions) eod 07/29/99 [MAC]

 07/28/1999   ENTRY from Hearing on a Warrant for Arrest of Material Witness. Elise Forest appeared in person and
              with FCD Jim McKinely. Winfield Ong appeared for the govt and Thomas Parker for USPO. Hearing held
              and Ms. Forest was released and ordered to appear before the Honorable Larry J. McKinney at 9:00 am. on
              July 29, 1999. (Conditions of Release attached) cm KPF eod 07/29/99 [MAC]

 07/27/1999   ENTRY IN OPEN COURT: DENIES Deft Willie Boddie's Motion for Disclosure of Pre-Sentence Reports
              of Govt Witnesses as to witness Jandelyn Gates eod 07/29/99 [SJD]

 07/27/1999   ENTRY - OVERRULES Deft Mark White's oral motion to exclude testimony of Govt witness Alfred
              Edmonson relating to two shooting incidents involving Mario Jackson and Steven Eldridge and to strike
              from the Indictment allegations of those overt acts. cm/LJM eod 07/29/99 [SJD]

 07/28/1999   ENTRY IN OPEN COURT: OVERRULES Deft William Gray's oral motion to strike the testimony of
              Govt witness Alfred Edmondson concerning the purported kidnapping of "YZ" eod 07/29/99 [SJD]

 07/28/1999   ENTRY - OVERRULES Deft William Gray's oral motion for a cautionary instruction regarding Alfred
              Edmondson's admission of overt acts. eod 07/29/99 [SJD]

 07/28/1999   ENTRY - DENIES disclosure of Agent Neukum's notes of a 10/5/98 interview with Alfred Edmondson eod
              07/29/99 [SJD]

 07/28/1999   ENTRY - GRANTS Deft Spradley's request that Agent Neukum's 10/5/98 notes be placed under seal and
              included in the file cm/LJM eod 07/29/99 [SJD]

 07/29/1999   COURTROOM MINUTES - Jury Trial Continues. Pltf Continues to present Evidence. Court adjourns to
              resume 8/2/99 at 9:00 am. LJM eod 07/30/99 [MAC]

 07/30/1999   MOTION IN LIMINE cs PLTF eod 08/02/99 [DLD]

 07/30/1999   ENTRY - hearing is held with Government counsel and defense counsel represented by agreement by Mark
              Inman, William Dazey, Linda Wagoner and James McAbee on the issues of disclosure of law enforcement
              officers' notes. eod 08/02/99 [DLD]

 07/30/1999   ENTRY - Argument is heard by the Court on the question of the existence of additional Kel tapes and notes
              resulting from interviews held between July 5, 1997 and October 25, 1997 by officers of the Metropolitan
              Homicide Response Team with Keith Cork, William Cox, Robert Johnson and Dwayne Gibson. eod
              08/02/99 [DLD]

 07/30/1999   ENTRY - Court directs the Government to provide certain information to the Court (See Order) eod
              08/02/99 [DLD]

 07/30/1999   ENTRY - Counsel James McAbee, on behalf of DEFT (Dennis Jones) moves orally to strike the portion of




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              Officer Monica Smiley's testimony regarding a statement of DEFT (Stephanie Johnson) that referenced
              DEFT Jones. Court takes the motion under advisement. eod 08/02/99 [DLD]

 07/30/1999   ENTRY - Counsel William Dazey, on behalf of DEFT (Mark White), moves orally to strike the testimony
              of Alfred Edmondson concerning the purported kidnapping of "YZ". The motion is OVERRULED on the
              record for the same reasons DEFT William Gray's Motion to Strike this testimony was denied. cm LJM eod
              08/02/99 [DLD]

 08/02/1999   ORDER to Seal. It is now ordered that the Government's Submission, In Camera, of notes taken by Law
              Enforcement Agents at 10/25/97 meeting, filed with the Court this date, be placed UNDER SEAL. cm LJM
              eod 08/02/99 [DLD]

 08/02/1999   AFFIDAVIT of Christopher Hefner. eod 08/02/99 [DLD]

 08/02/1999   AFFIDAVIT of John T. Jones. eod 08/02/99 [DLD]

 08/02/1999   Government's Witness List for August 2, 1999. cs PLTF eod 08/02/99 [DLD]

 08/02/1999   MOTION IN LIMINE cs PLTF eod 08/02/99 [DLD]

 08/02/1999   COURTROOM MINUTES - cont. of jury trial. PLTF cont. with evidence. Court adjourns to resume
              08/03/99 at 9:00 a.m. eod 08/03/99 [DLD]

 08/02/1999   MOTION for Warrant for material witness. cs PLTF eod 08/03/99 [DLD]

 08/02/1999   ORDER that a warrant be issued for the appearance of Maurice Rowe in the trial of this matter. cm LJM
              eod 08/03/99 [DLD]

 08/03/1999   STIPULATION government exhibits 274 A, B, D, E, F, G and H. cs PLTF eod 08/03/99 [DLD]

 08/03/1999   COURTROOM MINUTES - Cont. of Jury Trial. Pltf cont. with evidence. Court adjourns to resume 8/4/99
              at 9:00 a.m. eod 08/04/99 [DLD]

 08/04/1999   DISCLOSURE OF WITNESS ASSISTANCE. cs PLTF eod 08/04/99 [DLD]

 08/03/1999   ENTRY IN OPEN COURT: DEFT Mark White moves orally for a Motion in Limine to exclude certain
              testimony of Government witness Keith Cork considered by DEFT White to be 404(b) material. The
              testimoney in question relates to: 1) the shooting of Steven Eldrige, 2) the purported kidnapping of "YZ",
              3) the shooting of Mario Jackson residence, and 4) the allegation of a shooting incident and pay-off. Motion
              is OVERRULED by the Court. eod 08/05/99 [DLD]

 08/03/1999   ENTRY - DEFT Anthony Spradley orally moves to strike Government's last question and the answer given
              by Keith Cork in his testimony this date. Motion is GRANTED. eod 08/05/99 [DLD]

 08/03/1999   ENTRY - Court DENIES disclosure of Raymond Story's pre-sentence investigative report for the reasons
              stated on the open record. eod 08/05/99 [DLD]

 08/03/1999   ENTRY - the Court finds that the 2 1/2 pages of written notes of Agent Neukam contain no Brady or Jenks
              material and DENIES disclosure of said notes. eod 08/05/99 [DLD]

 08/03/1999   ENTRY OVERRULES DEFT Gray's Motion to Reconsider matters pertaining to Cork's and Cox's
              reputation for peacefulness. eod 08/05/99 [DLD]




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 08/03/1999   ENTRY - DEFT Gray's Motion to Reconsider Admission of "Statements" of Marcus Willis is
              OVERRULED. cm LJM eod 08/05/99 [DLD]

 08/04/1999   COURTROOM MINUTES - Cont. of Jury Trial. PLTF cont. with evidence. Court adjourns to resume
              08/05/99. eod 08/05/99 [DLD]

 08/04/1999   ENTRY IN OPEN COURT: The Court DENIES production of Officer Schmidt's notes of the 10/25/97,
              interview with Keith Cork for the reasons stated on the open record. cm LJM eod 08/05/99 [DLD]

 08/05/1999   COURTROOM MINUTES - Cont. of Jury Trial. PLTF cont. with evidence. Court Adjourns to resume
              08/09/99. eod 08/06/99 [DLD]

 08/09/1999   MOTION for Warrant for Material Witness. cs PLTF eod 08/09/99 [DLD]

 08/09/1999   ORDER grants the Motion for a Warrant on Darryl Rudich. cm LJM eod 08/09/99 [DLD]

 08/09/1999   MOTION for issuance of subpoena. cs DEFT eod 08/09/99 [DLD]

 08/09/1999   ORDER - comes now deft, Mark White, by counsel, having filed his Motion for Issuance of Subpoenas,
              and the Court being duly advised now ORDERS the U.S. Marshall to serve the subpoenas attached to this
              Order. Such witnesses are to bepaid statutory expenses in the same manner as witnesses calley by the US.
              cm LJM eod 08/09/99 [DLD]

 08/09/1999   SUBPOENA issued to Steve Ross and Dennis Burris. eod 08/09/99 [DLD]

 08/09/1999   SUBPOENA issued to Ruthann Herber eod 08/09/99 [DLD]

 08/09/1999   SUBPOENA issued to Dawn Smith eod 08/09/99 [DLD]

 08/09/1999   SUBPOENA issued to Bobby Newsom eod 08/09/99 [DLD]

 08/09/1999   SUBPOENA issued to Jerry Cannon eod 08/09/99 [DLD]

 08/09/1999   SUBPOENA issued to Cuatia Taylor eod 08/09/99 [DLD]

 08/09/1999   COURTROOM MINUTES - Cont. of Jury Trial. PLTF conts. with evidence. Court Adjourns to resume
              08/10/99 at 9:00 a.m. eod 08/10/99 [DLD]

 08/09/1999   ENTRY - IN OPEN COURT: Defendant Darren Brown orally moves for a Motion in Limine excluding the
              testimony of two Government witnesses regarding the purported kidnapping of Anthony Hill, a.k.a. AZ,
              and drug transaction involving Mr. Hill. Motion joined by DEFTS Gray, Spradley and White. In the event
              that the Court denies their motion, DEFTS move the Court for a recess of this trial for a period of 10 days
              in order to prepare their cross-examination. Deft Gray requests a limiting instruction to the jury should the
              Court deny the motion. eod 08/10/99 [DLD]

 08/09/1999   ENTRY - Court permits testimony of witness Allison Hill this date, DENIES defts' request for a recess of
              ten days, and rules that the testimony of witness Harold Swindell be delayed until Thursday, August 12,
              1999. eod 08/10/99 [DLD]

 08/09/1999   ENTRY - DEFT Gray renews his Motion to Sever. Motion is OVERRULED by Court. cm LJM eod
              08/10/99 [DLD]




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 08/10/1999   COURTROOM MINUTES - Cont. of Jury Trial. PLTF cont. with evidence. Court adjourns to resume
              08/11/99 at 9:00 a.m. eod 08/11/99 [DLD]

 08/10/1999   ENTRY in OPEN COURT: DEFT Mark White moves orally for a motion in limine to exclude the
              testimony of Witness William Cox as to a drive-by shooting by unknown assailants in early 1998. Deft
              William Gray joins in the motion and renews his Motion to Sever. The Motion in Limine is DENIED by
              the Court. Court now OVERRULES DEFT Gray's renewed Motion to Sever. cm LJM eod 08/11/99 [DLD]

 08/11/1999   COURTROOM MINUTES - Jury Trial Continues. Pltf presents Evidence. Court adjourns to resume
              8/12/99 at 9:00 am. LJM eod 08/12/99 [MAC]

 08/12/1999   USM RETURN - endeavored to serve 8/10/99; business closed (no hours of operation posted) eod 08/12/99
              [LMW]

 08/11/1999   ENTRY - IN OPEN COURT: GRANTS Govt's oral motion to withdraw warrants for arrest of witnesses
              Maurice Rowe and Darryl Rudich eod 08/13/99 [SJD]

 08/11/1999   ENTRY - IN OPEN COURT: Govt orally moves for a motion in limine to exclude any defense evidence
              that has not been provided in reciprocal discovery. MOTION TAKEN UNDER ADVISEMENT eod
              08/13/99 [SJD]

 08/11/1999   ENTRY - IN OPEN COURT: OVERRULES deft Willie Boddie's oral motion for a cautionary instruction
              at the conclusion of witness William Cox's testimony eod 08/13/99 [SJD]

 08/11/1999   ENTRY - IN OPEN COURT: OVERRULES deft Willie Boddie's oral renewal of his Motion to Sever eod
              08/13/99 [SJD]

 08/11/1999   ENTRY - IN OPEN COURT: DENIES disclosure of William Cox's pre-sentence report for reasons stated
              on the record eod 08/13/99 [SJD]

 08/11/1999   ENTRY - IN OPEN COURT: OVERRULES deft Darren Brown's motion in limine regarding certain IRS
              documents cm/LJM eod 08/13/99 [SJD]

 08/12/1999   COURTROOM MINUTES - Continuance of jury trial. Pltf continues with evidence. Court adjourns to
              resume 8/16/99 at 9:00 a.m. eod 08/13/99 [SJD]

 08/12/1999   ENTRY - IN OPEN COURT: OVERRULES deft Dennis Jones' oral motion to strike certain testimony of
              Officer Monica Smiley eod 08/13/99 [SJD]

 08/12/1999   ENTRY - IN OPEN COURT: GRANTS IN PART and DENIES IN PART deft Darren Brown's oral
              motion in limine to exclude the entire proposed testimony of Govt witness Harold Swindell eod 08/13/99
              [SJD]

 08/12/1999   ENTRY -IN OPEN COURT: OVERRULES deft Thomas Alexander's renewed motion to sever eod
              08/13/99 [SJD]

 08/12/1999   ENTRY - IN OPEN COURT: OVERRULES deft Mark White's renewed motion in limine to exclude all
              testimony regarding the purported kidnapping of Anthony Hill, a/k/a "YZ" cm/LJM eod 08/13/99 [SJD]

 08/12/1999   ORDER - REMOVES the ex parte submission to the Court of Defts' Preliminary Witness List and directs
              distribution of said list to Govt counsel cm/LJM eod 08/13/99 [SJD]

 08/09/1999   ENTRY IN OPEN COURT: GRANTS Govt's Motion in Limine regarding testimony of Witness Terry C.




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              Brown cm/LJM eod 08/16/99 [SJD]

 08/12/1999   ENTRY - IN OPEN COURT: DENIES Deft Dennis Jones' Motion to Strike Certain Portions of June 30,
              1997 Statement and Memorandum cm/LJM eod 08/16/99 [SJD]

 08/16/1999   ORDER - OVERRULES Deft Ellis Walker's Motion for Mistrial, or to Strike Testimony of Dewayne
              Gibson and to Give Curative Instruction, and Renewed Motion for Severance cm/LJM eod 08/16/99 [SJD]

 08/16/1999   COURTROOM MINUTES - Jury Trial Continues. Pltf continues evidence. Court adjourns to resume
              8/17/99 at 9:00 a.m. eod 08/17/99 [SJD]

 08/17/1999   STIPULATION of Govt Exhibits 257, 236 A,B,C and 237 A,C,D,F,G eod 08/17/99 [SJD]

 08/16/1999   USM RETURN subpoena served upon Jerry Cannon eod 08/17/99 [CBU]

 08/16/1999   SUBPOENA returned on Cuatia Taylor-Address does not exist eod 08/17/99 [CBU]

 08/17/1999   STIPULATION of Govt Exhibits 442 A and 442 B eod 08/18/99 [SJD]

 08/17/1999   COURTROOM MINUTES - Jury Trial Continues. Govt continues evidence. Court adjourns to resume
              8/18/99 at 9:00 a.m. eod 08/18/99 [SJD]

 08/18/1999   COURTROOM MINUTES - Jury Trial Continues. Govt continues evidence. Court adjourns to resume
              8/19/99 at 9:00 a.m. eod 08/19/99 [SJD]

 08/19/1999   JURY INSTRUCTIONS -tendered c/s USA eod 08/19/99 [CBU]

 08/18/1999   STIPULATION of Govt Exhibits 223, 224, 225, 234, 242, 245 and 258 eod 08/20/99 [SJD]

 08/19/1999   COURTROOM MINUTES - Jury Trial Continues. Govt continues evidence. Court adjourns to resume
              8/23/99 at 9:00 a.m. eod 08/20/99 [SJD]

 08/19/1999   ORDER (REVISED) of 8/9/99 order for issuance of subpoenas cm/LJM eod 08/20/99 [SJD]

 08/20/1999   JURY INSTRUCTIONS - TENDERED INSTRUCTINS AND OBJECTIONS to the Court's Proposed
              Instructions cs DEFT WHITE eod 08/20/99 [LMW]

 08/23/1999   MOTION to Prohibit Expert Witness and Motion for Limine. cs PLTF eod 08/23/99 [DLD]

 08/23/1999   USM RETURN - Proof of Service on Dawn Smith on 08/17/99 eod 08/24/99 [DLD]

 08/23/1999   COURTROOM MINUTES Jury Trial Continues. Plaintiff continues evidence and rests. Court adjourns to
              resume 8/24/99 at 9:00 a.m. eod 08/24/99 [SJD]

 08/24/1999   COURTROOM MINUTES - Jury Trial Continues. Defts begin evidence. Court adjourns to resume 8/25/99
              at 9:00 a.m. eod 08/25/99 [SJD]

 08/24/1999   ENTRY - IN OPEN COURT: OVERRULES Defts' motions for acquittal with exception of Deft Spradley's
              motion for acquittal as to Counts 2, 3, & 4 which is taken under advisement. eod 08/25/99 [SJD]

 08/24/1999   ENTRY - IN OPEN COURT: OVERRULES defendants' renewed motions to strike and to sever. eod




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              08/25/99 [SJD]

 08/24/1999   ENTRY - IN OPEN COURT: GRANTS Govt's oral motion in limine regarding the taped conversation
              between Sgt. Benjamin and Anthony Spradley. cm/LJM eod 08/25/99 [SJD]

 08/12/1999   USM RETURN - Ruthann Herber dated 08/10/99 eod 08/26/99 [DLD]

 08/25/1999   COURTROOM MINUTES - Jury Trial Continues. Defendants continue evidence. Court adjourns to
              resume 8/26/99 at 9:00 a.m. eod 08/26/99 [SJD]

 08/26/1999   COURTROOM MINUTES - Jury Trial Continues. Defendants continue evidence and rest. Court adjourns
              to resume 8/30/99 at 9:00 a.m. eod 08/27/99 [SJD]

 08/25/1999   ENTRY - IN OPEN COURT: OVERRULES oral motion of Deft Thomas Alexander to strike tapes
              presented into evidence by Deft Mark White. cm/LJM eod 08/31/99 [SJD]

 08/26/1999   ENTRY - IN OPEN COURT: GRANTS Deft Anthony Spradley's oral motion to strike a certain question of
              the Govt during the testimony of Ernest Terry. cm/LJM eod 08/31/99 [SJD]

 08/30/1999   COURTROOM MINUTES - Jury Trial Continues. Final Arguments begun. Court adjourns to resume
              8/31/99 at 9:00 a.m. eod 08/31/99 [SJD]

 08/30/1999   ORDER - DENIES Deft Stephanie Johnson's oral motion for judgment of acquittal on Counts 8, 9, 16 and
              17. eod 08/31/99 [SJD]

 08/30/1999   ORDER - DENIES Deft Ellis Walker's 8/24/99 renewed motion for severance and/or for mistrial. eod
              08/31/99 [SJD]

 08/30/1999   ORDER - DEEMS MOOT Govt's Motion to Prohibit Expert Witness and Motion in Limine filed on
              8/23/99. cm/LJM eod 08/31/99 [SJD]

 08/30/1999   ORDER - OVERRULES Renewed Oral Motions under Rule 29, Motions to Sever, and Motions to Strike.
              cm/LJM eod 08/31/99 [SJD]

 08/31/1999   COURTROOM MINUTES - Jury Trial Continues. Final Arguments conclude. Bailiffs are sworn. Jury
              begins deliberations at 9:00 p.m. Court adjourns to resume 9/1/99 at 8:00 a.m. eod 09/02/99 [SJD]

 09/01/1999   COURTROOM MINUTES - Jury continues their deliberation and recesses to resume deliberation on
              9/2/99 at 8:00 a.m. eod 09/03/99 [SJD]

 09/02/1999   COURTROOM MINUTES - Jury continues their deliberation and recesses to resume deliberation on
              9/3/99 at 8:00 a.m. eod 09/03/99 [SJD]

 08/31/1999   ORDER - that the members of the jury be sequestered and continued under the care and control of the
              United States Marshal until discharged. The U.S. Marshal is directed to provide appropriate lodging
              accomodations for the members of the jury as well as meals and transportation that are to be provided at the
              expense of the U.S. District Court. cm/LJM eod 09/03/99 [SJD]

 09/03/1999   COURTROOM MINUTES - Jury cont. their deliberation and recesses to resume deliberation on 09/04/99
              at 8:00 a.m. eod 09/08/99 [DLD]

 09/04/1999   COURTROOM MINUTES - Jury Return with Verdicts. Jury Discharged. Court adjourn. eod 09/08/99
              [DLD]




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 09/04/1999   COURTROOM MINUTES - Jury cont. their deliberation. Jury returns with their verdicts. Verdicts are read
              by the Court. Jurors are pulled and discharged. Court is adjourned. eod 09/08/99 [DLD]

 09/04/1999   VERDICT - guilty verdicts: Counts 1,7,8,22 (See Verdict Forms) eod 09/08/99 [DLD]

 11/02/1998   APPEARANCE - CJA William Dazey appointed for all proceedings on Voucher #0716823 (Nunc Pro
              Tunc) (KPF) eod 09/08/99 [MHK]

 09/14/1999   ENTRY ASSIGNS SENTENCING DATE to 12/10/99 at 09:00AM Room 202 (LJM) c/m eod 09/14/99
              [DLD]

 09/17/1999   MOTION for witness fees and expenses. cs DEFT eod 09/17/99 [DLD]

 09/21/1999   ORDER directing payment of witness fees and expenses. cm LJM eod 09/21/99 [DLD]

 10/21/1999   ENTRY ASSIGNS CONF to 11/05/99 at 11:00AM Room 204 (LJM) c/m (Atty conf to discuss sentencing
              issues) eod 10/21/99 [SJD]

 11/05/1999   ORDER on Briefing. Attorney conference held. The Court now orders defense briefing on sentencing
              issues on or before 11/15/99, and Government response thereto on or before 11/22/99. cm LJM eod
              11/05/99 [DLD]

 11/15/1999   SENTENCING MEMORANDUM cs DEFT eod 11/16/99 [DLD]

 11/16/1999   OBJECTION to Proposed Guideline Computation. cs DEFT eod 11/18/99 [DLD]

 11/22/1999   RESPONSE to DEFTS' Objection to proposed guideline computation. cs PLTF eod 11/22/99 [DLD]

 12/07/1999   ENTRY - Court is called into session for oral argument on defts' objections to proposed guideline
              computations. Government, by counsel, and DEFTS, with counsel, are present. Court hears argument of
              counsel and takes the matter under advisement. Court is adjourned. cm LJM eod 12/07/99 [DLD]

 12/07/1999   ORDER - OVERRULES Defts' Objections to Guideline Calculation cm/LJM eod 12/08/99 [SJD]

 12/09/1999   ORDER - on Defts' Objections to Guideline Calculation (Second Order) cm/LJM eod 12/09/99 [SJD]

 12/10/1999   SENTENCING HELD J & C forthcoming. eod 12/10/99 [DLD]

 12/10/1999   JUDGMENT ENTERED COUNT/FINDING: 21 USC 841 (a)(1)and 846 - Conspiracy to Possess with
              Intent to distribute and to distribute cocaine, Count 1, 18 USC 1956(a)(1)(A) and (h) Conspiracy to commit
              money laudry Count 7,8, 18 USC 1956(a)(1)(B) Conducting Financial Transaction with Proceeds from
              Unlawful Activity, IMPRISONMENT: Count 1 - Life, Counts 7,8,22 - 240 months SUPERVISED
              RELEASE: 5 years Standard & Special conditions of Supervision - See Judgment ASSESSMENT: 400.00
              FINE: 5,000.00 COUNT(S) DISMISSED: Count 2-4, 13 cm LJM OBV 33 PG 209 eod 12/14/99 [DLD]

 12/17/1999   NOTICE OF APPEAL from the final judgment entered on 12/14/99 c/s DEFT eod 12/17/99 [GRN]

 12/17/1999   DOCKETING STATEMENT c/s DEFT/APPELLANT eod 12/17/99 [GRN]

 12/17/1999   {"Circuit Rule 26.1 Disclosure Statement"} c/s Attorney for DEFT/APPELLANT eod 12/17/99 [GRN]

 12/17/1999   SHORT RECORD SENT TO CA w Notice, Info Sheet & Docket Sheet Designation of record letter sent to




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              parties. eod 12/17/99 [GRN]

 12/27/1999   ACK FROM CA SHORT RECORD received & assigned CA # 99-4281 eod 12/28/99 [GRN]

 12/29/1999   DESIGNATION OF RECORD "Additionally, the Defendant requests that all pretrial motions and orders
              related thereto reflected on the docket of any co-defendant (including defendants whose cases resulted in
              acquittal) be included in the Record on Appeal." c/s DEFT/APPELLANT eod 01/03/00 [GRN]

 01/14/2000   USM RETURN on Mark White. eod 01/14/00 [DLD]

 03/08/2000   ORDER that this cause comes before the Court on the Court's own motion. The Court is having a new
              transcript prepared to incorporate one complete trial transcript. The following transcripts are now
              STRICKEN from the record. They are as follows: Document No. # 265, #266, #267, # 290, #291, #292, #
              293, # 294, # 295, # 296, # 297, # 298, # 299, #300, #301, # 314, #315 and #320. cm LJM eod 03/08/00
              [DLD]

 03/09/2000   NOTICE - The above transcripts are docketed on IP 98-38-CR-01-M/F ONLY. eod 03/09/00 [DLD]

 03/17/2000   Clerk's MEMORANDUM re All ORIGINAL TRIAL TRANSCRIPTS [Vols 1 - 31]. They are lodged and
              docketed into Criminal Defendant IP98-038-CR-01-M/F ONLY. eod 03/17/00 [GRN]

 03/13/2000   TRANSCRIPT of Hearing re: Proposed Guideline Calculations held 12/06/99, before Hon. Larry J.
              McKinney. [Original lodged with IP98-038-CR-01-M/F]. eod 03/17/00 [GRN]

 03/13/2000   TRANSCRIPT of Disposition Proceedings Held 12/10/99, before Hon. Larry J. McKinney eod 03/17/00
              [GRN]

 03/22/2000   MOTION to Withdraw Exhibit No. 18. cs PLTF eod 03/22/00 [DLD]

 03/23/2000   ORDER grants the motion to withdraw exhibit no. 18. cm LJM eod 03/23/00 [DLD]

 06/07/2000   MOTION to Settle the Record [on appeal] re: joinder of co-defendants' oral/written motion(s) and objection
              (s) c/s DEFTS/APPELLANTS eod 06/12/00 [GRN]

 06/16/2000   GOVERNMENT's RESPONSE to DEFT's "Motion to Settle the Record" c/s USA eod 06/16/00 [GRN]

 07/14/2000   ENTRY certifies the following supplemental matters to the Record on appeal, pursuant to FRAP 10(e): 1)
              Both oral & written Motions made on behalf of one named defendant were deemed to be made on behalf of
              all defendants unless the Record reflects that a defendant opted out of the motion : and 2)Objections made
              on behalf of one named defendant were deemed to be made on behalf of all defendants unless the Record
              reflects that a defendant opted out of the objection. {S.E.} c/m LJM eod 07/24/00 [GRN]

 08/10/2000   CJA VOUCHER # 0716823, dated 10/13/99. eod 08/10/00 [KJM]

 08/10/2000   CJA VOUCHER # - for pmt to ct apptd counsel William Dazey, Jr., dated 1/31/00. eod 08/10/00 [KJM]

 08/10/2000   CJA VOUCHER # - for payment to Glen Cunningham for transcript (dated 3/13/00). eod 08/10/00 [KJM]

 08/10/2000   CJA VOUCHER # - for payment to Glen Cunningham for transcript (dated 3/13/00). eod 08/10/00 [KJM]

 09/21/2000   APPEAL RECORD withdrawn by Atty. William Dazey, consisting of 3 vols pleadings and 1 vol. Co-
              Defendant's Motions Volume. eod 09/21/00 [GRN]




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 01/18/2001   APPEAL RECORD returned, consisting of 3 vols pleadings & 1 vol Co-Defendant's motions. eod 01/22/01
              [GRN]

 04/10/2001   Motion {"Petition for a copy of the Jury Instructions" "Specifically, the instant petition is for the following
              transcripts:(I). Grand Jury Transcripts, (2). Trail Trans Cripts [sic] (3). Docket Sheet." : and eod 04/10/01
              [GRN]

 04/10/2001   "... request that this petition be accepted IN FORMA PAUPERIS, due to the appellant/defendant's poverty
              and inability to pay the cost concerning the foregoing action." DEFT/APPELLANT eod 04/10/01 [GRN]

 04/13/2001   ENTRY DENIES DEFT's Pro Se request for a copy of jury instructions and certain transcripts because he
              is represented by counsel in the pending appeal and the court presumes that counsel has access to all
              pertinent records. c/m LJM eod 04/16/01 [GRN]

 05/21/2001   LONG RECORD SENT TO CA consisting of 22 vol pleadings: {4 vols = Deft #1, all others; 3 vols}, 1 vol
              * Supplemental Pleadings: {= Obj/mots of Non-appealing Co-Defts}, 41 vols Transcirpts {32 shared}, 14
              In Camera Envelopes {2 per DEFT}, and 1 Envelope Exhibits from detention hearing of 7/24/98 [re: DEFT
              #1 only]. Note: Upon instruction from Clerk's Office of 7th Circuit, the remaining exhibits would be
              forwarded to 7th Circuit based on any ad-hoc request(s), as a supplemental record. eod 05/21/01 [GRN]

 05/02/2002   MANDATE RECEIVED FROM CA. The District Court's imposition of a life sentence to Jones based on
              the application of the First-Degree Murder Guideline is VACATED. We AFFIRM each of the defendants'
              convictions and REMAND for the resentencing of defendants Jones and White. All in accordance with the
              decision of the C/A entered April 9, 2002. Received certified copy of opinion and judgment. Records
              returned consisting of 22 vols pleadings, 1 vol loose pleadings, 41 vols transcripts, 1 envelope exhibits and
              6 In Camera Envelopes. eod 05/02/02 [GRN]

 05/23/2002   OBJECTION to Sentence Imposed. cs DEFT eod 05/24/02 [DLD]

 10/08/2002   REOPEN eod 10/08/02 [DLD] For statistical purpose - case does not need to be reopened. edited 1/8/03
              [WMK]

 09/10/2002   Request to know status of case concerning remand by 7th Circuit Court of Appeal. DEFT eod 10/09/02
              [DLD]

 10/11/2002   ENTRY ASSIGNS SENTENCING DATE to 10/23/02 at 10:00AM Room 202 (LJM) c/m (Re-sentencing)
              eod 10/11/02 [KJM]

 10/17/2002   MOTION TO CONTINUE resentencing date of 10/23/02. cs DEFT eod 10/18/02 [DLD]

 10/21/2002   ORDER VACATES SENTENCING DATE of 10/23/02 at 10:00AM Room 202 (LJM) c/m eod 10/21/02
              [DLD]

 10/21/2002   ORDER REASSIGNS SENTENCING DATE to 01/24/03 at 02:00PM Room 202 (LJM) c/m eod 10/21/02
              [DLD]

 01/16/2003   MOTION to Dismiss Count 1 of Indictment based on the Government's failure to prove every element of
              the offense. cs DEFT eod 01/17/03 [DLD]

 01/16/2003   MOTION TO CONTINUE resentencing date. cs DEFT eod 01/17/03 [DLD]

 01/22/2003   ORDER VACATES SENTENCING DATE of 01/24/03 at 2:00PM Room 202 (LJM) c/m eod 01/22/03
              [DLD]




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 01/22/2003   ORDER REASSIGNS SENTENCING DATE to 03/07/03 at 03:00PM Room 202 (LJM) c/m Cont. of #276
              eod 01/22/03 [DLD]

 02/13/2003   MOTION TO CONTINUE sentencing cs PLTF eod 02/14/03 [DLD]

 02/18/2003   ORDER VACATES SENTENCING DATE of 03/07/03 at 3:00PM Room 202 (LJM) c/m eod 02/18/03
              [DLD]

 02/18/2003   ORDER REASSIGNS SENTENCING DATE to 04/04/03 at 02:00PM Room 202 (LJM) c/m eod 02/18/03
              [DLD]

 04/01/2003   MOTION to continue resentencing date. cs DEFT eod 04/01/03 [KJM]

 04/01/2003   ORDER GRANTS Deft's motion to continue. eod 04/01/03 [KJM]

 04/01/2003   ORDER VACATES SENTENCING DATE of 04/04/03 at 2:00PM Room 202 (LJM) c/m eod 04/01/03
              [KJM]

 04/01/2003   ORDER REASSIGNS SENTENCING DATE to 06/13/03 at 03:00PM Room 202 (LJM) c/m (resentencing
              hearing) eod 04/01/03 [KJM]

 04/28/2003   Notice of Docketing a Petition for Writ of Mandamus; CA# 03-2250 eod 05/15/03 [GRN]

 05/19/2003   MOTION for clarification concerning commencement of one-year filing deadline DEFT-Pro Se eod
              05/20/03 [CBU]

 05/21/2003   ORDER {from 7th Circuit C/A, dated 5/19/03}: The Pro Se petition for Writ of Mandamus [03-2250], to
              commence resentencing proceedings concerning Defendant herein, filed May 8, 2003, is DENIED, in
              accordance with the decision of the C/A entered 5/19/03. Received certified copy of order. eod 05/28/03
              [GRN]

 06/13/2003   ENTRY - Re-sentencing hearing held and concluded. J & C forthcoming. eod 06/17/03 [KJM]

 06/13/2003   MOTION (REQUEST) for ruling on pro se motions. c/s DEFT eod 06/17/03 [CLL]

 06/23/2003   ENTRY directs the Clerk to include a copy of petrs petition with distribution of this Entry; defts petition for
              clarification is denied cm LJM eod 06/23/03 [CBU]

 06/20/2003   JUDGMENT (AMENDED). Deft was founf guilty of counts 1,7,8 and 22. The deft was found not guilty of
              2,3,4 and 13. IMPRISONMENT: 480 months.ASSESSMENT: $400.00. FINE:$5000.00. Deft remanded to
              the custody of the U.S. Marshal service. cm LJM OBV 37 PG 144 eod 06/30/03 [YOL]

 07/03/2003   NOTICE OF APPEAL from the judgment announced on June 13, 2003 but not yet entered on the docket as
              of the date of this notice. c/s DEFT eod 07/03/03 [GRN]

 07/03/2003   APPEAL FEES NOT PAID - CJA APPOINTMENT eod 07/03/03 [GRN]

 07/08/2003   ENTRY Deft's request for a ruling on his pro se motions, these bieng the motion to dismiss,filed on
              1/13/03, is Granted. Deft's motion to dismiss filed on 1/16/03, is denied. Also consistent with the re-
              sentencing of 6/13/03 the court considered and rejected the deft's proposition that a plenary re-sentencing
              was authorized; instead the deft was re-sentenced in accord with the decision of the court of appeals and the
              limited remand. cm LJM eod 07/08/03 [YOL]




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 07/10/2003   SHORT RECORD SENT TO CA w Notice, Info Sheet & Docket Sheet eod 07/10/03 [GRN]

 05/06/2003   MOTION to present Caselaw supporting court's Authority to Consider Petitions and Objections, by
              Defendant, Concerning Criminal case. cs PLTF (docketed out of order) eod 07/11/03 [KJM]

 07/16/2003   TRANSCRIPT of resentencing held 6/13/03. eod 07/17/03 [YOL]

 07/17/2003   ACK FROM CA SHORT RECORD received & assigned CA # 03-2875 eod 07/17/03 [GRN]

 10/21/2003   DESIGNATION OF RECORD . c/s DEFT/APPELLANT eod 10/22/03 [TMA]

 01/12/2004   MOTION under 28 USC 2255 to vacate (See Civil Cause 1:04-cv-71 LJM-WTL) eod 01/13/04 [PLM]

 01/06/2004   RECEIPT FOR EXHIBITS - Trial Exhibits returned to DEA eod 01/15/04 [KJM]

 05/11/2005   Request for Presence of DEFT Pursuant to FRCP 43(b)(3) c/s DEFT Pro se eod 05/11/05 [AJN]

 05/13/2005   MANDATE RECEIVED FROM CA. - We (USCA) direct a limited REMAND of White's case in
              accordance with the procedure set forth in this opinion dated 5/3/05. Received certified copy of opinion.
              The 7th Circuit retains appellate jurisdiction. eod 05/16/05 [TMA]

 05/17/2005   ENTRY -This cause is set for Paladino hearing. USMS shall produce the DEFT at hearing. eod 05/18/05
              [AJN]

 05/17/2005   ENTRY ASSIGNS HEARING to 06/03/05 at 03:00PM Room 215 (LJM) c/m (TH) eod 05/18/05 [AJN]

 05/20/2005   MOTION TO CONTINUE Paladino Hearing c/s DEFT eod 05/20/05 [AJN]

 05/23/2005   ENTRY VACATES HEARING of 06/03/05 at 3:00PM Room 215 (LJM) c/m eod 05/23/05 [AJN]

 05/23/2005   ENTRY REASSIGNS HEARING to 05/26/05 at 03:30PM Room 204 (LJM) c/m eod 05/23/05 [AJN]

 05/26/2005   ENTRY and Order-Parties having meet by counsel for a hearing,the Court now orders the parties to file a
              brief on the sentencing issues within 30 days. cm LJM eod 05/31/05 [AJN]

 05/31/2005   ORDER VACATES HEARING of 05/26/05 at 3:30PM Room 204 (LJM) c/m eod 05/31/05 [AJN]

 06/03/2005   ENTRY -The Court previoulsy determined that this is not a case in which the DEFT can proceed with and
              without counsel. The DEFT should refrain from submitting Pro Se filing so long as he remains represented
              by counsel. DEFT's request for his presence is granted to the extent that it becomes necessary in order to
              carry out the terms of the limited remand. cm LJM eod 06/03/05 [AJN]

 06/10/2005   Submission Regarding Need for Re-Sentencing of DEFT-c/s USA eod 06/13/05 [AJN]

 06/23/2005   Letter to Court from DEFT's mother regarding his release. eod 06/23/05 [AJN]

 06/24/2005   MOTION for Extension of Time to Submit Paladino Remand Statement c/s DEFT eod 06/27/05 [AJN]

 06/28/2005   ORDER -Grants Motion for Time to Submit Paladino Statement. DEFT has through July 8, 2005 to submit
              his statement. cm LJM eod 06/28/05 [AJN]




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 07/08/2005   MOTION FOR TIME TO Submit Paladino Remand Statement c/s DEFT eod 07/08/05 [AJN]

 07/08/2005   ORDER Grants Motion for Time. DEFT's Paladino Statement is extended through July 22, 2005. cm LJM
              eod 07/08/05 [AJN]

 07/22/2005   STATEMENT on limited remand. c/s DEFT eod 07/22/05 [CLL]

 09/14/2005   ORDER -PALADINO-cm LJM eod 09/14/05 [CBU]

 10/14/2005   LONG RECORD SENT TO CA consisting of 4 vols pleadings, 2 transcripts and 1 in camera envelope, per
              USCA request. eod 10/14/05 [TMA]

 10/20/2005   ACK FROM CA LONG RECORD RECEIVED on 10/17/05. eod 10/21/05 [TMA]

 12/28/2005   MANDATE RECEIVED FROM CA. - The judgment of the District Court is AFFIRMED, in accordance
              with the decision of the USCA entered on 5/3/05 and 11/22/05. Received certified copy of mandate.
              Complete record returned. eod 12/29/05 [TMA]

 07/24/2006   Letter requesting docket sheet and copy of jury verdict form by defendant, Mark White eod 07/25/06 [PG]

 04/09/2007   MOTION FOR PAUPER STATUS ; and MOTION and Application for Certification Granting Copies of
              Criminal File to Indigent. DEFT eod 04/09/07 [LSC]

 08/22/2007   ENTRY Granting in Part and Denying in Part Deft's Motion filed on 4/9/2007 LJM c/m. eod 08/22/07 [PG]

 09/11/2007   ENTRY Defendant's request to be supplied with a copy of the docket sheet and verdict form in the above
              action is GRANTED LJM c/m. eod 09/11/07 [PG]

 01/08/2008   MOTION (PETITION) FOR WRIT OF HABEAS CORPUS pursuant to 28 USC 2255 (1:08-cv-00030-
              LJM-WTL). eod 01/09/08 [DH]

 03/21/2008   Letter from defendant regarding sentence eod 03/24/08 [PG]

 03/21/2008   MOTION TO REDUCE SENTENCE RE CRACK COCAINE OFFENSE - 18:3582 by deft eod 03/24/08
              [PG]

 09/05/2008   ENTRY Appointing Counsel and Directing Development of Motion for Modification of Sentence Pursuant
              to 18:3582. IFCD is appointed to represent the Defendant. USPO is requested to prepare a worksheet or
              similiar assessment. US shall file a response to the 3582 motion within 21 days of USPO filing
              worksheet/assessment. (See Entry) LJM c/m eod 09/08/08 [TRG]

 10/01/2008   MOTION to Supplement/Amend White's Title 28:2255 Motion to Vacate, Set Aside or Correct Sentence,
              filed by Mark White. eod 10/02/08 [TRG]

 10/01/2008   MEMORANDUM in Support of Supplemental/Amendment filed by Mark A. White. eod 10/02/08 [TRG]

 10/15/2008   MOTION for Leave to Withdraw Motion to Modify Sentence Under 18:3582 without prejudice, filed by
              Defendant. c/s eod 10/16/08 [TRG]

 10/31/2008   ORDER - GRANTING Defendant's Motion for Leave to Withdraw Motion to Modify Sentence Under
              18:3582 Without Prejudice. LJM c/m eod 11/03/08 [TRG]




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 12/11/2008   ORDER DENYING MOTION TO REDUCE SENTENCE RE CRACK COCAINE OFFENSE - 18:3582
              eod 12/12/08 [TRG]

 12/11/2008   OBV 42 PG 160 eod 12/12/08 [TRG]

 03/06/2009   ENTRY DENYING Motion for Relief pursuant to 28 U.S.C. Section 2255 and direcing entry of judgment.
              (S.E.) cm LJM eod 03/06/09 [MAC]

 03/06/2009   JUDGMENT - pursuant to Entry the movant shall take nothing by his Motion for Relief; civil action
              docketed as No. 1:08-cv-30-LJM-DML is DISMISSED with prejudice. cm LJM OBV 43 PG 26 eod
              03/06/09 [MAC]

 04/13/2004   ENTRY DENYING Motion for Relief, pursuant to 28 U.S.C. 2255. cm LJM (1:04-cv-00071, docketed out
              of order). eod 06/08/10 [SH]

 04/13/2004   JUDGMENT pursuant to Entry, cause is DISMISSED without prejudice. (1:04-cv-00071, docketed out of
              order). OBV 44 PG 83 eod 06/08/10 [SH]

 07/27/2010   MOTION for permission by the District Court in the filing of a late notice of appeal pursuant to 28 U.S.C.
              Sec. 3742(A)(1), seeking a review of Sentence, filed by pro se deft. eod 07/28/10 [TMA]

 08/02/2010   ENTRY - motion for permission to file a late notice of appeal is DENIED eod 08/02/10 [REO]

 12/17/2010   ORDER Directing Clerk to Transfer Action to CM/ECF System. LJM c/m. eod 12/17/10 [REO]

 12/17/2010   ***Case administratively moved to the court's CM/ECF system under the same cause number. No further
              entries shall be made in JAMS.*** eod 12/17/10 [REO]

 05/12/2015   REASSIGNED from Mag FOSTER to Mag DINSMORE (dis) eod 05/12/15 [DH]



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                     *** PUBLIC DOCKET ***
                                                                   APPEAL,MANDATE,CLOSED

                              U.S. District Court
                   Southern District of Indiana (Indianapolis)
            CRIMINAL DOCKET FOR CASE #: 1:98-cr-00038-LJM-MJD-3


Case title: USA v. SPRADLEY et al                          Date Filed: 03/10/1998
                                                           Date Terminated: 12/10/1999

Assigned to: Judge Larry J. McKinney
Referred to: Magistrate Judge Mark J.
Dinsmore
Appeals court case number: 14-2138 -
Mandate 7th Circuit

Defendant (3)
MARK WHITE                                   represented by William H. Dazey , Jr.
TERMINATED: 12/10/1999                                      INDIANA FEDERAL COMMUNITY
agent of                                                    DEFENDERS
MILK D                                                      111 Monument Circle
TERMINATED: 12/10/1999                                      Suite 2150
agent of                                                    Indianapolis, IN 46204
RAT                                                         (317) 383-3520
TERMINATED: 12/10/1999                                      Fax: (317) 383-3525
agent of                                                    Email: bill.dazey@fd.org
DEMARCO BLACK                                               TERMINATED: 07/10/2015
TERMINATED: 12/10/1999                                      ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

Pending Counts                                              Disposition
21:841A=CD.F CONTROLLED
SUBSTANCE - SELL, DISTRIBUTE,
OR DISPENSE
(1)
18:1956-4999.F MONEY
LAUNDERING - FRAUD, OTHER
(7)
18:1956-4999.F MONEY
LAUNDERING - FRAUD, OTHER
(8s)

18:1956-4999.F MONEY



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LAUNDERING - FRAUD, OTHER
(22)

Highest Offense Level (Opening)
Felony

Terminated Counts                                           Disposition
TAMPER W/WITNESS, VICTIM,
INFORMANT (IF DEATH RESULTS)
(2)
RETALIATING AGAINST WITNESS,
VICTIM
(3)
VIOLENT
CRIME/DRUGS/MACHINE GUN
(4)
MONEY LAUNDERING -
CONTROLLED SUBSTANCE -
SELL/DISTR/DISP
(13)

Highest Offense Level (Terminated)
Felony

Complaints                                                  Disposition
None


Plaintiff
USA                                          represented by Matthew P. Brookman
                                                            UNITED STATES ATTORNEY'S
                                                            OFFICE - EV
                                                            101 NW Martin Luther King, Jr. Blvd.
                                                            Suite 250
                                                            Evansville, IN 47708
                                                            (812) 465-6475
                                                            Fax: (812) 465-6444
                                                            Email: Matthew.Brookman@usdoj.gov
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Government Attorney

                                                            Melanie C. Conour
                                                            UNITED STATES ATTORNEY'S
                                                            OFFICE
                                                            10 West Market Street




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                                                             Suite 2100
                                                             Indianapolis, IN 46204
                                                             (317) 226-6333
                                                             Fax: (317) 226-5953
                                                             Email: melanie.conour@usdoj.gov
                                                             TERMINATED: 08/17/2015
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: Government Attorney


 Date Filed       #   Docket Text
 03/10/1998       1 JAMS DOCKET as to MARK WHITE: *** This case was previously
                    maintained in the court's Judicial Automated Management System (JAMS).
                    Pursuant to the court's order dated 12/17/2010, the docket is now transferred to
                    the court's electronic case management system (CM/ECF) *** (Attachments: #
                    1 Transfer Order) (REO) Modified on 12/22/2010 (REO). (Entered:
                    12/22/2010)
 11/04/2011       4 Letter from Mark White regarding reduction of sentence DEFT-Pro Se (CBU)
                    (Entered: 11/07/2011)
 04/05/2012      12 Letter from Mark White addressed to the Financial Litigation Agent regarding
                    payment due to the judgment (CBU) (Entered: 04/05/2012)
 05/31/2013      17 MOTION to Appoint Counsel by MARK WHITE. (TMA) (Entered:
                    06/03/2013)
 05/31/2013      18 MOTION to proceed in forma pauperis, filed by MARK WHITE.
                    (Attachments: # 1 Trust Fund Account Information) (TMA) (Entered:
                    06/03/2013)
 05/31/2013      19 Submission of Application for Certification of Appealability, by MARK
                    WHITE. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit
                    D) (TMA) (Entered: 06/03/2013)
 05/31/2013      20 Submission of Docketing Statement, by MARK WHITE. (TMA) (Entered:
                    06/03/2013)
 10/04/2013      21 MOTION for Copies by MARK WHITE. (Attachments: # 1 Envelope)(SWM)
                    (Entered: 10/07/2013)
 03/28/2014      22 Inquiry regarding case from Mark A. White. (Attachments: # 1 Envelope)
                    (SWM) (Entered: 03/31/2014)
 05/08/2014      23 ORDER - The request to proceed in forma pauperis [dkt 18 ] and the motion for
                    attorney representation [dkt 17 ], filed by MARK WHITE (3), are each denied
                    as inapt to the filing discussed in Part I of this Entry. ***SEE ORDER***.
                    Signed by Judge Larry J. McKinney on 5/8/2014. (copy to Mark White via US
                    Mail) (JKS) (Entered: 05/08/2014)
 05/21/2014      24 RESPONSE re 23 Order, by MARK WHITE. (Attachments: # 1 Envelope)
                    (JKS) (Entered: 05/22/2014)




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 05/21/2014      25 NOTICE OF APPEAL by MARK WHITE re 23 Order. (No fee paid with this
                    filing) (JKS) (Additional attachment(s) added on 5/22/2014: # 1 Envelope)
                    (JKS). (Entered: 05/22/2014)
 05/22/2014      26 SEVENTH CIRCUIT APPEAL INFORMATION SHEET as to MARK
                    WHITE re 25 Notice of Appeal - Instructions for Attorneys - Parties' Short
                    Record, Instructions, and Designation of Record information attached. (A
                    paper copy of the Short Record was sent on 5/22/2014 to the defendant, via US
                    Mail, at FCI Terre Haute) (LBT) (Entered: 05/22/2014)
 05/22/2014      27 Transmission of Notice of Appeal and Docket Sheet as to MARK WHITE to
                    US Court of Appeals re 25 Notice of Appeal. - for Court of Appeals Use
                    Only. (LBT) (Entered: 05/22/2014)
 05/22/2014      28 USCA Case Number 14-2138 for 25 Notice of Appeal filed by MARK WHITE.
                    (Attachments: # 1 Circuit Rule 3(b) Notice)(JLM) (Entered: 05/23/2014)
 06/03/2014      29 ENTRY Directing Further Proceedings in case as to MARK WHITE (3) - The
                    defendant renews his request for the issuance of a certificate of appealability.
                    The defendant shall have through July 2, 2014, in which to supplement his
                    renewed request. The defendant shall have through July 2, 2014 in which to
                    supplement his filing of May 21, 2014 by re-stating with clarity what, if any,
                    relief from his conviction and sentence he now seeks from the trial court and
                    the basis on which he contends that such relief could be granted. He is notified
                    that a request for relief within the scope of 28 U.S.C. § 2255 will be treated as
                    such a request, regardless of the label attached to the filing or filings. Signed by
                    Judge Larry J. McKinney on 6/3/2014. (copy to Mark White via US Mail)
                    (JKS) **Copy emailed to USCA via #14-2138.** Modified on 6/4/2014 (JLM).
                    (Entered: 06/03/2014)
 06/04/2014      30 MOTION for Leave to Appeal In Forma Pauperis by MARK WHITE.
                    (Attachments: # 1 IFP filed in 2013, # 2 Inmate Account History, # 3 USCA
                    Order Transferring IFP to District Court)(LBT) (Entered: 06/05/2014)
 06/10/2014      31 ORDER denying 30 Defendant's Motion for Leave to Appeal In Forma
                    Pauperis (USCA #14-2138) as to MARK WHITE (3). Signed by Judge Larry J.
                    McKinney on 6/10/2014. (copy to Mark White via US Mail) (JKS) (Entered:
                    06/10/2014)
 07/02/2014      32 RESPONSE, re 29 Entry filed by MARK WHITE. (Attachments: # 1 Exhibit C
                    - Entry, # 2 Envelope)(DW) (Entered: 07/03/2014)
 09/22/2014      33 MANDATE of USCA (certified copy) as to MARK WHITE re 25 Notice of
                    Appeal (USCA #14-2138) - Mark White filed a petition for rehearing of this
                    court's order denying his application for leave to file a successive collateral
                    attack. This court is not authorized to consider White's motion, 28 U.S.C. §
                    2244(b)(3)(E), which shall be filed without further action by the court. In
                    denying his application just two weeks ago, we warned White that continuing to
                    file frivolous papers would result in sanctions in accordance with Alexander v.
                    United States, 121 F.3d 312 (7th Cir 1997). But White has done just that,
                    continuing to raise the same challenge to his conviction under Crawford v.
                    Washington, 541 U.S. 36 (2004), that he has raised in five previous collateral
                    attacks. Accordingly, we now impose the following SANCTION: White is




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                     fined $500. Until he pays that sum in full to the clerk of this court, he is barred
                     from filing further civil suits in the courts of this circuit, in accordance with
                     Support Systems International v. Mack, 45 F.3d 185 (7th Cir. 1995). Any
                     papers he submits attacking his current criminal judgment, including further
                     collateral attacks, shall be returned unfiled and any applications for leave to file
                     collateral attacks will be deemed denied on the 30th day unless the court orders
                     otherwise. (JLM) (Entered: 09/22/2014)
 01/08/2015      34 MOTION for court to consider issues by MARK WHITE. (Attachments: # 1
                    Seventh Circuit Case Search and Entry)(DW) (Entered: 01/09/2015)
 01/09/2015      35 ENTRY AND NOTICE as to MARK WHITE (03). Defendant White sought
                    the issuance of a certificate of appealability. He was instructed to identify the
                    "final adverse order" as to which he seeks such a certificate. He has not done
                    so. Through his filing of July 2, 2014, however, he insists that a certificate of
                    appealability can and should be issued. That is not the case and his request for a
                    certificate of appealability is denied. The reason for this ruling is that a
                    certificate of appealability can be considered in conjunction with the denial of a
                    motion for relief pursuant to 28 U.S.C. § 2255, but that matter here has long
                    since been laid to rest. Additionally, the Court of Appeals' Order of September
                    22, 2014 in No. 14-2138 prohibits White from making or pursuing this and
                    similar requests. Therefore, any relief which can be thought as being requested
                    on the basis of filings heretofore made is denied. Signed by Judge Larry J.
                    McKinney on 1/9/2015. Copy sent to Defendant via U.S. Mail. (BGT) (Entered:
                    01/12/2015)
 01/13/2015      37 ORDER as to MARK WHITE (3): The defendant's motion for consideration
                    [dkt 34] is denied in light of the Entry docketed on January 12, 2015 confirming
                    his non-entitlement to a certificate of appealability and the effect of the
                    September 22, 2014 Order of the Court of Appeals in No. 14-2138. The motion
                    referred to herein should not have been tendered and should not have been
                    filed. Further attempts to file motions for reconsideration will be denied. Signed
                    by Judge Larry J. McKinney on 1/13/2015. Copy sent via US Mail.(DW)
                    (Entered: 01/13/2015)
 03/02/2015      39 MOTION to Reduce Sentence - USSC Amendment 782 by MARK WHITE.
                    (AH) (Entered: 03/05/2015)
 05/07/2015      40 ORDER TO SHOW CAUSE as to MARK WHITE (03): The Court
                    acknowledges receipt of Defendant Mark White's ("Defendant's") Motion to
                    Reduce Sentence pursuant to 18 U.S.C. § 3582(c)(2) under the terms of
                    Amendment 782 to the United States Sentencing Commission guideline
                    ("Amendment 782") ("Defendant's 782 Motion"). Defendant shall have 21 days
                    from the date of this Order to supplement his 782 Motion with reasons why the
                    section 3553(a) factors weigh in favor of reducing Defendant's sentence. The
                    United States of America shall have 14 days thereafter to respond. This Order
                    should not be construed as a ruling or comment on the merits or sufficiency of
                    Defendant's 782 Motion (see Order for additional information). Copy to
                    Plainitff via US Mail. Signed by Judge Larry J. McKinney on 5/7/2015. (SWM)
                    (Entered: 05/07/2015)
 05/12/2015      43 Reassignment of Case to Magistrate Judge Mark J. Dinsmore. Magistrate Judge




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                     Kennard P. Foster no longer assigned to the case. Please include the new case
                     number ( 1:98-cr-038-LJM-MJD), which includes the initials of the newly
                     assigned judge, on all future filings in this matter. (DJH) (Entered: 05/12/2015)
 05/18/2015      46 RESPONSE to Court's Order to Show Cause, filed by MARK WHITE (3)
                    (Attachments: # 1 Envelope)(SWM) (Entered: 05/19/2015)
 05/26/2015      47 RESPONSE in Opposition re 39 MOTION to Reduce Sentence - USSC
                    Amendment 782 by USA as to MARK WHITE (3) (Conour, Melanie)
                    (Entered: 05/26/2015)
 06/08/2015      49 SUPPLEMENT re 46 RESPONSE to Court's Order to Show Cause by MARK
                    WHITE (3). (Attachments: # 1 Envelope)(DW) (Entered: 06/09/2015)
 07/14/2015      54 ORDER denying Defendant's 39 Motion to Reduce Sentence - USSC
                    Amendment 782 for 1 as to MARK WHITE (3). Signed by Judge Larry J.
                    McKinney on 7/14/2015. Copy sent to Defendant via U.S. Mail. (BGT)
                    (Entered: 07/14/2015)
 08/06/2015      56 MOTION for Reconsideration of Court's 54 ORDER denying Defendant's 39
                    Motion to Reduce Sentence - USSC Amendment 782 by MARK WHITE (3).
                    Certificate of Service. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                    C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Envelope)
                    (BGT) (Entered: 08/07/2015)
 08/12/2015      57 ORDER denying Defendant's 56 Motion for Reconsideration of the Court's
                    Order denying his Motion for Reduction in Sentence pursuant to 18 U.S.C. §
                    3582(c)(2) and Amendment 782 to the U.S. Sentencing Commission Guidelines
                    ("782 Motion") as to MARK WHITE (3). Signed by Judge Larry J. McKinney
                    on 8/12/2015. Copy sent to Defendant via U.S. Mail. (BGT) (Entered:
                    08/12/2015)
 08/21/2015      61 NOTICE OF APPEAL by MARK WHITE (3) re 54 Order on Motion to
                    Reduce Sentence - USSC Amendment 782 and 57 Order on Motion for
                    Reconsideration. No Certificate of Service. (No fee paid with this filing)
                    (Attachments: # 1 Envelope) (BGT) (Entered: 08/24/2015)

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